Case 1:10-cv-04235-TCB Document 1-1 Filed 12/29/10 Page 1 of 75

General Civil Case Filing Information Form (Non-Domestic)
County Copp

Superior

Docket # \O-\- UL}4- U4

Date Filed _1//?2/2-210

MM-DD-YYYY

 

 

 

 

OD State
Plaintiff(s)
Dees Mack
Last First Middle L Suffix Prefix Maiden
Dees Clare

Last Fast MiddlelL Suffix Prefix Maiden
Last First Middle i Sufix Prefix Maiden
Last Fires, Middle L Suffix Prefix Maiden

 

No. of Plaintiffs

Piaintiff/Petitioner’s Attorney |

 

 

C1 Post Judgment Garmishment, Attachment, or
Other Relief

CI Non-Domestic Contempt

CO) Tort Gf tort, fll ix right colmmn)
(1 Other General Civil Specify

 

 

Defrndantts)

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Middle L Suffix Prefix Maida

F.A-

“Chase Ho me Le Finance Lit.

 

 

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O.P. Morgan Chase, MAL
Lag Fast Middle L Suffix Prefix Masden

John, Toes ioe Mh

Tanet Fast Middiel Soitix Prefix:

No. of Defendants H

| If Tort is Case Type: | }

(Chetk no more than TWO)

At Aen
| Cl Premises Liability

| ( Medical Malpractice

| O Other Professional Negligence

[] Other Specify

 

 

 

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Case 1:10-cv-04235-TCB Document 1-1 Filed 12/29/10 Page 2 of 75

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Page i
DISCLOSURE STATEMENT
CLERK OF SUPERIOR COURT

Jay C. File
Clerk of Superior Court Cobb County

case Number \O ~|- \\4\4 - WA

Assigned by Clerk *
Mark Aud Cloure Pees
PLAINTIFF

¥S.

Weadiunslon MH cutuaf Bank EA.
Chase." Home (FA VIA Ce, Le.

TP. Met Chase, v4.

Ton ‘| eed-wy TYPE OF ACTION
1, Divorce without Agreement Attached 11,__ URESA
2, Divorce with Agreement Attached 12. Name Change “Lf g, -
3, ___ Domestic Relations 13, 47 Other quiet + H+ Acton
4. Damages arising out of Contract 14, Recusal elyt
5. Damages arising out of Tort ‘5. Pett ov +e Ve rm
6. Condemnation
7 Equity Adoption
8. Zoning ~ County Ordinance violations (ic. Injunctive relief- zoning)
9, Zoning Appeals (denovo)
10. Appeal, Including denovo appeal-excluding Zoning

PREVIOUS RELATED CASES

Does this case involve substantially the same parties, or substantially the same subject matter, or substantially the same factual
issues, gs any other case filed in this court? (Whether pending simultaneously or not.)
7 NO

___ YES - If yes please fill out the following:

 

 

 

 

1, Case #
2. Parties VS.
3. Assigned Judge
4. Is this case still pending? Yes ./ No
5. Brief description of similarities:
aaa ff -23~-20(0
Teak pee 11 [23 201
Attorney or Party Filing Suit
pwst
Form #0122

Revised 12/01/09
Case 1:10-cv-04235-TCB Document 1-1 Filed 12/29/10 Page 3 of 75

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SUPERIOR COURT OF COBB COUNTY ¢ %

STATE OF GEORGIA Clerk of buperior Court Bobb County

MARK DEES
CLAIRE DEES

PETITIONERS: - CIVIL ACTION FILE NO. \O-|- i 4 . Uq
RESPONDENTS ;

WASHINGTON MUTUAL BANK, FA.

CHASE HOME FINANCE, .LLC,

J.P, MORGAN CHASE, N.A,

JOHN DOES 1-4006-

and all persons unknown, claiming any legal or equitable right , title , estate, lien, or interest in

the property described in the complaint named as JOHN DOES 1 ¢hrough-0007

PETITION TO QUIET TITLE
COMES NOW, MARK DEES AND CLAIRE DEES , Petitioners “hereinafter petitioners or
plaintiffs” in the above styled case and files this his Complaint against Respondents hereinafter
referred to as “respondents or defendants” and in support thereof would show unto the Court the
following matters and facts: | | |
Petitioners are adult residents and citizen of Gwinnett County, Georgia. The subject property _
is situated in Cobb County, Georgia and is subject to jurisdiction of this court.
Respondents , hereinafter WASHINGTON MUTUAL BANK, F A , Is or was a bankrupt national _
company whose principal address is 1301 Second Avenue, Seattle Washington , 98101-3033 . _
Respondent , CHASE HOME FINANCE LLC. A subsidiary of J.P, Morgan Chase, N.A. Whose
principal address is 1111 Potaris Parkway Columbus OH 43240-2301, . | |
Respondent J.P. Morgan Chase, N.A. , is a national public corporation , whose principal address
is 1111 Polaris Parkway Columbus OH 43240-2301 and whose registered agent is C T

Corporations Systems, Inc, 1201 Peachtree St NE Atlanta, Ga 30361.

 
Case 1:10-cv-04235-TCB Document 1-1 Filed 12/29/10 Page 4 of 75

ID# 2@XX-XXXXXXX-cy
- Page B

_ Respondents John Does 416008. Plaintiff has no knowledge of the true names and identities of ail |
of the mbs investors , bond certificate holders, or possible real parties in interest since they .
were intentionally hidden from the plaintiff after repeated written requests. Plaintiff therefore
sues them by such fictitious names. This Complaint will be amended when the true identities are
ascertained . | | |

The property which is the subject matter of this action situated in the County of Cobb, ©

State of Georgia , and described as follows: | | .

ALL THAT TRACT or parcel of land lying and being in Land Lot 105, 17" District 2" Section of
Cobb County, Georgia, being Lot 42, Maple Valley Estates Subdivision, Unit- III, Section 1,
according to plat recorded in Plat Book 100, Page 6, Cobb County Records, Reference to said
plat is hereby made for a complete description of the property herein described. Said property is _
improved known as 517 Pineland Circle, according to the present system of numbering property
in Cobb County, Georgia. ,

Respondents designated as DOES 1-4660-“all persons unknown claiming any legal or equitable
right, title, estate, lien or interest in the property described in the Complaint.”
Petitioners , are now, and at all times mentioned in this Complaint, was an owner of and in the
possession of all the real property described in Paragraph 5 above, said real property to be |

hereinafter referred to as the 517 Pineland Circle, SW Mableton , GA 30126 . The security deed
is dated December 5" 2003 and is recorded in deed book 13907, Page 3540 Cobb County Records.

Respondents , and each of them in this action, claim an interest and estate in the Property
adverse to petitioners , Respondents claims are based on the following: Petitioners by way of
affidavit of notary presentment mailed a good faith request, qualified written request, debt
validation notice aud other notices on exhibit *D” 1-8 attached, by certified mail to respondents
on August 17" 2010, The notices “D” 1-8 attached were signed for and acknowledged by
Respondents and accepted by “K B”. The original ink signed note or a place to visually inspect it
was requested , Chase responded on letter dated October 4", 2010, by sending only a copy of the .

nofe, security deed, ete, but no original and did not offer or provide a place to visually inspect

 
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IDH 2210-0 1 95421-cv
the original ink signed note as requested. Under title 24-4-23, 24-3-36 of the Georgia Code this
pst n admission they do not have. the original note in their_possession and are not the
creditor having no rights whatsoever in regards to the proporty, It is respondents belief that
securitization nullifies the note see explanation by expert witness and securities lawyer attached
on exhibit “S” ,“How Securit ization Nullifies the Note” and the note is paid in full by tarp, credit |
default swaps, insurance proceeds to the only party who invested funds namely the bond |
certificate holders or investors in the mutual fund. ‘The note has als n illegal decoup!
from the note rendering it yoid and Chase admits they are not the hold or and vet d esires a to
foreclose my property without having to prove ownership of the note. This means that anyone,
true creditor or not true creditor, could begin filing foreclosures on anyone else's home
without having to prove ownership, Also multiple claimants could come forward if the real note
turned up and claim the money is due to them and the borrower might owe the money all over, .
again to the holder of the original note , a negotiable instrument. Excess distribution of funds
may be due the borrower from payouts, tarp, credit default swaps and insurance procecds
vastly exceeding the amount of the loan balance and yet no credit has been given to borrowers
loan balance and Chase has refused to provide their double entry book keeping
ledgers for the borrower to inspect, Borrow does not trust the word of the respondents. See
article entitled “Fla Ct Finds JP Morgan Intentionally and Knowingly Committed Fraud on The
Court “exhibit F attached. Is Chase above the law ? Chase is orie of the lenders named in the — .
robo signing controversy being investigated by attorney Generals in fifty states.
Petitoner has exclusive, complete, actual, open, and continuous possession of
the Property adverse to defendants for more than seven years, Petitioner has paid all taxes
levied or assessed against the property and all other assessments during the past seven years.
Plaintiff has made and paid for all repairs, upkeep, and insurance on the property for the.

past seven years. Unless the defendants are enjoined from asserting their adverse claims to the |

 
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ID# 2010-9195421-cV
. Page 4

property, defendants will continue to assert their adverse claims resulting in irreparabie harm,
damage, and injury to plaintiff. Plaintiff has no other adequate remedy at law. 7
Wherefore , plaintiff respectfully requests judgment against defendants and each of them known
or unknown as follows: | |
That Defendants be required to sct forth the right, nature, and virtue of their claim to the
property , and that all adverse claims of the defendants be determined by decree of this court,
That it be declared and adjudged that plaintiff is the owner of the property and entitled to
possession; |

That it be declared and adjudged that the defendants have no estate , right, title, or interest
whatsoever in or to the property or any part of it. |
That Defendants (or respondents) be permanently enjoined and restrained from asserting any
estate , right,title, security deed, or interest whatsoever, in or to the property or any part of it
adverse to plaintiff; For costs;and For such other and further relief as the court may deem

proper, See exhibits D, 1-8 attached ,S, F, &,

Respectfully submitted ,

Marte, Dao. ulrs}ro

Petitioncr/Plaintiff Pro Se , Mark Dees

WCQ. Ylete— UfB2h0
Petitioner /Plaintiff Pro Se, Claire Dees

 
Case 1:10-cv-04235-TCB Document 1-1 Filed 12/29/10 Page 7 of 75

IDH 2010-0195421~-Cy
Page 3 oo

Exhibit L

ALL THAT TRACT or parcel of tand lying and being in Land Lot 105, 17" District 2“ Section of
Cobb County, Georgia, being Lot 42, Maple Valley Estates Subdivision, Unit III, Section 1,
according to plat recorded in Plat Book 100, Page 6, Cobb County Records, Reference to said -
plat is hereby made for a complete description of the property herein described. Said property is
improved known as 517 Pineland Circle, according to the present system of numbering property
in Cobb County, Georgia.

 
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Page 6

VERIFICATION

We, Plaintiffs, Mark Dees and Claire Dees , having been duly sworn, under penalty of perjury, .
deposes and says that I am over the age of eighteen (18) and mentally competant to testify in this
matter, and from first hand knowledge state: My person and my property are in danger of
immediate and irreparable injury , an loss, or damage will result to the applicant before the
adverse party or his attorney can be heard in opposition ; and Thereby certify, that the facts set
forth regarding all matters stated in the above paragraphs are true and correct to the best of my
knowledge and belief, therefore since this is an Emergency Petition further notice should not be
required . | have read the foregoing pleading , the facts stated therein are from first hand

knowledge and are true and correct to the best of my knowledge and belief.

Geargla, Cobo County
f-
MC)
dale’ a/ro/ ow

Signed before mg tissd Siaay al 22D
MARK DEES , PRO SE

or ee a " 1 : -
_ Chereert- ey, Cs fea Meme ee
CLAIRE DEES, PRO SE fas fle | cae
daring Sprites only * Rey

Subscribed and sworn to beford: me,
this 23", day of November,,.2010.

fess)

 

 

 

   
      

Notary Public
MY Conn
My Commission maa 207

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Case 1:10-cv-04235-TCB Document 1-1 Filed 12/29/10 Page 9 of 75

IDH BO1B a1 954e1-cV

Page 7
SUPERIOR COURT OF COBB COUNTY
STATE OF GEORGIA
CIVIL ACTION FILE NO:

PLAINTIFF

MARK DEES

CLAIRE DEES

DEFENDANTS

J P MORGAN CHASE, N.A.
CHASE HOME FINANCE LLC.
WASHINGTON MUTUAL BANK, F.A.

CERTIFICATE OF SERVICE

I Mark Dees, Claire Dees, Certify that I have this 23% day of November, 2010 served the foregoing
Verified Emergency Petition for Temporary Restraining Order and or preliminary Injunction upon
Defendants through their registered agent or principal office of business by causing a true and correct .
copy to be served by commercial process server as follows:

Registered Agent of J P Morgan Chase N. A,
CT Corporations Systems Inc,

 

lAet Peachfee ST NE

Abtaata, GCA 3036 /

 

This 23% day of November, 2010

 
Case 1:10-cv-04235-TCB Document 1-1 Filed 12/29/10 Page 10 of 75

How securitization nullifies the original note and | fportgage. The.. Page 3 of 11.

EXHIBIT Nove

= Attorney Network Expands to Over 150 Lawyers in 37 States
« The Evolving Mortgage Audit and Analysis Process
a LAWYER-CLIENT JOB FAIR BY TELECONFERENCE — **#*SPREAD ~
THE WORD*** ‘

a Find a Lawyer {hat “Gets It”

 

- Tags

awit) bailout Bank of America bankruptcy DOTTOWEF ponowers Chamer 13 countrywide cred croditerisis erediter disclosure
discovery Eviction Federal reserve doit forectosure foreclosure defense foreclosure offense fraud

HERS inten uvsstoa lawyers fender Lender Liability teas lost note MERS Mortgage mortgaze meltdown we w

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trustee Wells Fargo

 

How securitization nullifies the original note and mortgage, The
Originating Lender is PAID IN FULL

Posted on March 30, 2009 by Neil Garfield

By the METHOD of pooling and tranching, they converted from negotiable to non-negotiable instrument,
(Article VIE UCC).

That means that upon transfer the recipient of the payment is satisfied in full and a new obligation arises
between the seller and buyer separate and apart from the borrower, Further, the method calls forthe
proceeds of payment from one note to be used as collateral (cross collateralization) for another. This
breaches the terms of the note which states that payments by borrower will be applied to what the
borrower owes.

So the investor receives the “benefit” of multiple obligors plus insurance and credit default swaps and an -
investment grade rating that was obtained under false pretenses. But what the investor is holding is not

the original note, He/she/it is holding a stream of revenue with multiple conditions. A conditional.

promise to pay is not a negotiable instrument,

The only party on record as mortgagee or beneficiary under a deed of trust has been paid in full as to -
principal, paid in full as to disclosed fees, and has received undisclosed fees as well because they were -
standing in for the real lender whose identity and existence was withheld from the borrower — all TILA
violations.

The purpose of the disclosure requirements is to crate enough transparency that both the funding source
and the borrower can readily perceive the risks of the transaction. In this case the pattern of conduct was
to make sure the investor and borrower could never get together to. compare notes. This prevented the
borrower from assessing whether better terms were available (instead of huge fees going to
intermediaries) and it prevented the investor from assessing the risk and rate of return on investment
(because only a portion of the invested dollars was going to fund mortgages — the rest going to fees .
spread around like a whiskey bottle at a frat party (Mike Stuckey’s phrase, MCNBC.com).

Spread the word StumbleUpon Digg Reddit [stare |

 

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Fla Ct Finds JP Morgan Intentionally and Knowingly Committe. “Page 3 of 26

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m Attorney Network Expands to Over 150 Lawyers in 37 States

mw The Evolving Mortgage Audit and Analysis Process
g LAWYER-CLIENT JOB FAIR BY TEL ECONFERENCE —— #**SPREAD
THE WORD*##

w Find a Lawyer that “Gets It”

- Tags

 

ealit ballout Bank of Anwrico bankruptcy DOITOWer poroves Chopicr 13 countrywide eat gsouit ecsiy creditor disclosure

discovery Byietion Pederat reserve rinids foreclosure foreclosure defense foreclosure offense fraud

HERS toaico masa lnvers leer Lender Liability inums lost note MERS Morigage mortgage meltdown par sy

Hines Obama Predatory lending winintetauin quiet title rescission RESPA RICO Securitization TILA TILA audit
. trustee welts Fargo . .

 

Fla Ct Finds JP Morgan Intentionally and Knowing Committed
Fraud on The Court

Posted on September 27, 2010 by Neil Garfield
SERVICES YOU NEED

“As basis for the legal case, WaMu had submitted an assignment of mortgage, which
however the court just found never actually belonged to WaMu, and instead was.
carried on the books of Fannie Mae.”

- EDITOR’S NOTE: It’s an old story to us but it’s news to everyone else, Yes it
48S fraud, and all you have to do is look, inquire and aggressively press the
opposition. —

Just like Wells Fargo in Massachusetts, GMAC now in 23 states so far, the story is always
the same — the lawyer doesn’t know who he/she represents and doesn’t care, the .
documents submitted are fabricated and forged and the representation that the would-be
forecloser is a creditor is a plan and simple lie — only revealed AFTER they are pressed to
support their claint of standing, real party in interest, holder of the note ete.

ALL the foreclosures and notices of sale, motions to lift stay, motions for summary judgment start the
same way. Some party picked at random from the securitization chain comes in and starts a foreclosure

sale (non-judicial) or a foreclosure lawsuit after documents are fabricated showing a chain of title that
never happened and doesn’t exist. —

. . ‘ . 3
MOST of the time borrowers and the Courts are intimidated by the presence of a “Bank” (which is _&
neither acting as a bank nor was it the lender, creditor, or payee at any point in the process of the closing «5
of the transaction between the homeowner as borrower and the investor as lender).

SOME of the time, borrowers are successful in their challenges to the foreclosure. The reason is not that ~
the rest of the foreclosures are proper, right, legal or equitable. The reason is that in those cases where
the borrower is successful they managed to get the Judge to pause long enough to actually look-at the

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Fla Ct Finds JP Morgan Intentionally and Knowingly Committe... Page 4 of 26

documents being presented and to allow the borrower to inquire as to their authenticity and authority. If
there is such an inquiry the borrower wins. If there is ng such inquiry, the borrower loses.

ALL of the proceedings in which foreclosures were initiated in both non-judicial and Judiclal states are
Jatally defective and has resulted in a pile of debris called “title” when in fact no title-has been
transferred, no credit bid was ever submitted and no deed was issued with authority from a party who
possessed the right to convey title. —

Each day an angry judge realizes he/she has been duped for years by these antics of people he knew and
trusted. Criminal acts, contemptuous of the law and the Courts have been committed in millions of
foreclosures,

None of the agencies that are charged with responsibility to regulate the activities of these banks,

institutions or companies has lifted a finger to impose existing rules and regulations that were designed to .

_ prevent this behavior and punish it when it occurs, None of the Courts want to apply clear-Federal law on

the subject in the Truth in Lending Act and the Real Estate Settlement and Procedures Act. Because when

it comes right down to it, the facts unfolding in the lead news stories and in the court orders being entered
are downright unthinkable,

We have now come to that fork in the road where we must stop anyone who asks” why would they lie?”
and simply admit that it has ALL been a BIG LIE and we have been living this lie for 10 years, hence the.
name of this blog,

So there is no mistake about it I am stating the opinion that NONE of the foreclosure sales on residential
property in which the loan was originated as part of a securitization scheme are valid, They are void. If
you think you lost your home you’re wrong no matter what anyone tells you. Any lawyer who studies this.
instead of responding from a knee-jerk “I remember that issue from law school” will come to the same
conclusion — the title chain is not just clouded, it is fatally defective. That means the foreclosures were
void according to existing law, It is the same effect as if] signed a warranty deed conveying title to
YOUR home now, Such a document might LOOK good, but it is fraudulent, because | don’t have the title
to convey much less warrant that it is good title. But if Judge won't let you speak or won't even consider
the possibility that I would flat out Jie and file a totally fraudutent deed, Pl win and you’ ll lose. That's
what is happening.

JPMorgan Brings Foreclosure Case In Mortgage In Which It Was Just A Servicer,
Court Finds Bank Committed Fraud

Submitted by Tyler Durden on 09/16/2010 16:37 -0500

* Fannie Mae
* Florida
* WaMu

An interesting development out of Jean Johnson, Circuit Judge in Duval Country, Florida, where in a case
filed by JPMorgan/WaMzu, as Plaintiff, and law firm of Shapiro and Fishman, attempted to evict
defendants Hank and Marilyn Pocopanni. As basis for the legal case, WaMu had submitted an
assignment of mortgage, which however the court just found never actually belonged to WaMu,
and instead was carried on the books of Fannie Mae,

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09 2003 . ADJUSTABLE RATE NOTE

  
  

ROVISIONS ALLOWING FOR CHANGES IN MY INTEREST RATE
Y PAYMENT, MY MONTHLY PAYMENT INCREASES WILL HAVE LIMITS
WHICH COULD RESULT IN THE PRINCIPAL AMOUNT | MUST REPAY BEING LARGER
THAN THE AMOUNT | ORIGINALLY BORROWED, BUT NOT MORE THAN 125% _ OF
THE ORIGINAL AMOUNT (OR 9 138,000,900). MY INTEREST RATE CAN NEVER
EXCEED THE UMIT STATED IN THiS NOTE OR ANY RIDER TO THIS NOTE, A BALLOON.
PAYMENT MAY SE DUE AT MATURITY.

 

{City} Biete)

- iroperty Adesal , — , :

1, BORROWER'S PROMISE TO PAY . : Se
{n return for a oan that | have received, { promise to pay U.S. .$ 2 0. __ plua

eny emounts addad in edcordence with Saation 4 is) below, (this emaunt 8 called , "he plus

Interest, to the order of the Lender. The Lender is neh? ie a a,

wilt make al] paymente under thia Note In form of cash, oheo! oF money ord pretend

the Lender may transfer thie Note. The Lender or anyone who tekes this Note by ranate and who

ig entitled to recelva paymente under this Note [s called the "Note Holder".

2. INTEREST

   

interest will ba charged on Unpald Principal until the full amount hes been pald. Up untit ths flret

day of tha calandar month that immediately preoadss the first payment due date set forth In Section
3 of this Note, | will pay interest at a yearly.rate of 4.602%.” Theresfter untl the first Changes
Date (ss defined Section 4 of thie Note) | wi) pay- ‘interest at @ yearly rate

of 1.650 %. The Interest rate required by this Saction:-2 end Section 4 of this Note is the Rate | .

will p sy both before and efter any default desorlbed In Ssotlon 718) of this Note.

3. PAYMENTS -
{A) Time and Place of Payments

1 wil pay Principal and interest by ead payments every month, .In this Note, speymente’
refer to Prinsips! and Interast payments only, although other charges such as taxes, Inaurance |
th

and/or late charges may also be payable with the mon’ iy Payment,

+ will make my monthly payments on _ jot day of: wach : month beginning - on

ReReuarys 2004 , | will make these payments every, month until | heve pald all of the.
prino P and Interest and eny other charges described below thet | may owe under this Note, Each
-monthty payment will be applied to Interest before Principal. lf, an January 1, 2034 oo
thi owe amounts Under this Note, f wilt pey those amounts In full on that date, whloh is celled the

"Maturity Date*.
t will meke my monthly payments at 9453 CORBIN AVE, NORTHRIDGE, CA 91594

, OF at a different place It re requlred by the Note Holder. -
{8} Amount of My initial Monthly Payments .

Each of my monthly paymente until the firet Paymant Change Date wilt be In the amount of U.S, |

@_ 389.01 _, Unless adjusted at an cerilar tims under Section 4H) of this: Note.

Seeseition | Page Tofe

- (12-MITA Index - Payment and Rate Cape) =

03-2382-064b00221-2

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IDH 2018-O195421-CV
. Page 12.

03-2352-064800121-3

{C) Payment Changes

My monthly payment will be recomputed, eccording to Sections 4{E)FIGNH? end {I} of this
Nate, to reflect changes In the Principal balance end interest rate that | must pay. The Note Holder
will daterming my new Interest rate and the changed amount of my” monthly payment in accordence .
with Section 4 of this Note,
4. INTEREST RATE AND MONTHLY PAYMENT CHANGES |

“ cone "rate 1 will further. ch , , .

e Interest + wil -pay may r ange on

February. 2004 , and on that dey avery month thereafter, Yech 3 uch day te called
Change Bete".

(B) The trdex

On each Change Date, my Interest rate will be based on en Index. The "Index" is the
Twelve-Month Averege, determined aa set forth below, of the annual ylelds on actively traded
United States Treesury Securities adjusted to a constant maturity of one year as published by the
Federal Reserve Board in the Federal Reserve Stetlatical Release entitled “Selécted Interest Rates —
{H.18)" ithe "Monthly Yields"), The Twelve-Month Average is determined by edding together the
Monthly Ylelds for the most recently avaliable twelve months and dividing by 12,

The most recent Index figure avallabla as of 16 days before each interest rate Change Data le
called the "Current index". If the Index is no jonger available, the Note Holder will choose a new
index which is based upon comparable Informetion. The Note Holder: will give me notice of this
cholos,

(C} Calculation of Changes

Befora aach Change Date, the Note Holder Will cploviete my new Interest rete by adding

‘rhree-Ten' percentage points 3.300 _ %
("Margin") to the Guirent Index. The Note Holder wil then round the result of this addition to 1

nearest one-thousandth of one percentage point (0.001%), Subject to the limite stated In Section
4{D) below, ‘thia rounded amount will ba my new Interest rate until the next Change Date. In the
event © new Index Is selected, pursuant to paragraph 4{B), 8 naw Margin will be determined. The
new Mergin will be the difference batween the average of tha old Index for the most recent three
year period which ends on the last dete the Index was available pive the Margin on the last dete the
old. index was avalleble and the everage of the new Index for the most recent three year period
which ends on thet date (or [f.-not evallable for euch three year period, for such time as. I ie
available), This differance will be rounded te the next higher 1/8 of 1%.
(D) Interest Rate Limit

My Interest rate will never be greater. than _. -
percentege points 9.500% ("Cep"), except that following any sala or transfer of the property

which secures repayment of thie Note alter the first interest rate Change Date, the maximum
interest-rate will be the higher of the Cap or & percentage polnts greater than the Intereat rate In
offect at the time of such sale or transfer.

{E) Payment Change Dates :

Effective avery year commencing ' and on the same
date each twelfth month thereafter (payment Change Date’), ee Note i Ider will determine the
amount of the monthly payment that would be sufficient to repay the projected principal belence | -
em expacted to owa a8 of the Payment Change Date In full on the Maturity Date at the interest rate
In affect 45 days pritr to the Paymant Chenge Date In aubstentially equal payments. The result of —
this caloulation [s the new amount of my monthly payment, subject to Section 4(F) below, and | will -
make payments in the new amount until the next Payment Change Date uniesa my payments are -
changed earller under Section 44H} of this Note.

{F) Monthly Payment Limkations: ;

Untess Section 4(K) and 44)) below apply, the amount of my new monthly payment, . beginning
with a Payment Change Date, will ba limited 10 7 142% more or less than the amount | have bren
paying. This payment cep apples only to the principal payment and does not spply to.any escrow .
payments Lender may require under the Security Instrument. —_

gues (1101) : Page 2of 6

 
 

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(G) Changes In My Unpald Principal Due to Negative Amortization or ‘Acoélerated Amortization

Since my payment amount changes less frequently than the interest rate end since the monthly -

peyment ia subject to the payment limitations described in Seotlon 4(F), my monthly payment could
be lass or greater then the amount of the Interest portion of the monthly payment thet would be
eufficlent te repay the Unpald Principal | owe at the monthly peyment date In full on | the maturity
date in substantially equel payments. For each month that the monthly payment ls fess than the
Interest portion, the Note Holder will aubtrect the monthly payment from the amount of the Interest
portion and will ad the difference to my Unpaid Principal, and intereet will eocrue on the amount of
this difference at the current Interest rate. For each month that the monthly payment la greater
than the Interest portion, the Note Holder will apply the excess towards @ principal reduction of the -
ote, ; . ee
(H) Umit on My Unpald Principal: Increased Monthly Peyment _

My unpald principal can never exceed a maximum amount equal to ‘of the principal -
ise

amount original borrowed, In tha event my Unpald Principal would otherwise exceed that

limitation, | wil! begin paying 6 new monthly payment until the next Payment Chenge Date

notwithstanding the 7 1/2% annual payment Increase imitation. The new monthly payment will be

@n emount which would be sufficient to rapay my then unpeld Principal in full on the maturity date

at my interest rate In effect the month prior to the payment due date in substantially equal

payments. 2
{I} Required Full Monthly Payment

On the _PLFTH  anniveraary of the due date of the firet monthly payment, and on that same
day every — eae — yosr thereafter, the monthly payment will be adjusted without regerd to the

payment cap limitation In Section 4(F).
(J) Notice of Changes .

The Note Holder will deliver or mail to me a notice of eny changes In the amount of my monthly.

payment before the effective date of any change. The not
law to be given moe and also the tite and telephone number of a person who will snswer sny
question | may have regarding the notice. oe

(K} Fallure to Make Adjustments . . co

if for any reason Note Holder falls to make an adjuatment to the Interest rate or paymant
amount e¢ described in this Note, regardless of any notice requirement, | egrea that Note Hol
may, Upon discovery of such failure, then make the sdjustment as if they had been mada on tims. |
#is0 agree not to hold Note Holder responsible for any damages to me which may result from Note
Hoider’s failure to make the adjustment and to let the Note Holder, at its option, apply any excess
monies which | may have pald to parila! Prepayment of unpaid Prinelpal. _ .

5. BORROWER'S RIGHT TO PREPAY -

{ have the right to make payments of Principal at any time before they ars due, A payment of
Principal only ls known &s 8 "Prepayment", When | make 8 Prepayment, | will tell the Note Holder
in writing that | am doing so, { may not designate a payment ge a Prepayment If | have not made all
the monthly payments dus under the Note, _

| may make a@ full prapayment or partial prepayments without paying any prepayment charge,
The Note Holder will apply all of my prepayments to reduce the emount of principal thet | owe —
under this Note. However, the Note Holder may apply my Prapayment to the accrued and unpaid
interset on the Prepayment amount, before applying my Prepayment to reduce the principal amount
of the Note. Hf | make a partial prepayment, there wil be no changes In the due dates af my
monthty payments unlesa the Note Holder agrees in writing to those changes. My partiel

prepayment may have the effect of reducing the emount of my monthly payments, but only after _

the first Payment Change Date fofowing my partial Prepayment, However, any reduction.dua to my
partie! Proapayment may be offset by an interest rate Increnge. . Lo .
6. LOAN CHARGES

If a law, which applles to this lan and which sats maximum oan chergés, Is finally interpreted oS

80 that the interest or other loan charges collected or to be collected In connection with this loan
excesd the permitted limits, then; {e) sny such fean cherge shall be reduced by the emount

B28ES 111-011 . Page Sof |

cs will Include Information required by: .

rm ee

 
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necessary to reduce the charge to the porenited Umit; end’ {o) any sums already collected from. me -
which sxcesded permitted fimits will be refunded to me, The Note Holder may choose to meke this
refund by reduolng the Principal | owe under this Note or by making a direct payment to me, if a
refund raduces Principal, the reduction will be treated os a partlel Prepeyment. .

Miscellaneous Fees: ‘| understend that the Note Hokler will aleo’ charge a. return item charge in .
the event a payment that | make in connection with rapeyment of this loan ls not henured by the.
finenolal Institution on which It is drawn, The current fee ls # _35.00. Lender: reserves the
right to change the fes from time to tne without notice except as mey be required by law.

7, BORROWER'S FAILURE TO PAY AS REQUIRED

{A) Late Charges for Overdus Payments ,

. If the Note Holder has not.reosived the full amount of any monthly payment by the end. of

Fifteen calendar days after the date it le due, | will pay s late chargé to the Note Holder. The
emount of the charge will be _ 5.060 _ % of my overdue payment of Prinaipel and interest, ( will
pay this late charge promptly but only once of each Ista payment,

(B) Cafauit

If i do not pey the full amount of esch monthly payment on ‘the dete itl due, 1 will be In
defeult.

(€) Notioe of Oefeult

If | am in defeult, the Note Holder may send me & written notice telling me that If [do not pay _
the overdue amount by a carteln date, the Note Holder may require me to pay Immediately the full .
amount of Frinolpal Which has not baen peld and all the Interest thet | owe on thet amount, That
dete must be st least 10 days after the date on which the notice Is delivered or maled to me (or, IF

‘the Federal National Mortgage Association or the Federal Home Loan Mortgage Corporation buys all.
or part of Lender's rights under the Seourity Instrument, In which case the notice will specify a
date, not less than 30 days from the date the notice Ie given tha Borrower. ,

(O} No Waiver By Note Holder :

Even If, at a time when | am In default, the Note Holder does not require me to pay Immediately
in full as desoribed above, the Note Holder will still have the right to to do so if | em in default et a

ater Ume,

(E) Payment of Note Holder's Costs and Expenses

If the Note Holder has requirad ma to pay Immediately In full as. described above, the Note
Holder will have the right to be paid back by me for all of Ite costs and expenses In enforcing this
Note, whether or not a lawsuit Is brought, to the extent not prohibited by. Appliosble Lew. Those ©
expenses Include, for example, raesonable attorneys" fess. +
8. GIVING OF NOTICES

Unless Applioable Lew requires a different method, any notice that must be given to me under?
this Note will be glven by delivering tt or by malling It by first class mall to me at the Property —
Address above or at a different addresa if | give the Note Holder a notice of my diffarent address.

Any notioe thet must be given to the Note Holder under thle Note will ba given by malling it by
firet olasg mell to the Note Holder at the address steted In Section 3{(A) above ar ate different
address If | am given a notice of that ditferent eddress, ;

8, OBLIGATIONS OF PERSONS UNOER THIS NOTE

If more then ona person signs this Note, each pereon Is fully and personally obligated to. keep
_ at of the promices made in this Note, Including the promise to pay the full amotint owed, Any--
person whe is a guarantor, surety, or ondoraar of this Note is also obligated to do these things.
Any person who takes over these obligations, Including the obligations of @ guerantor, surety, or -
endorser of this Note, Is elso obligated to keep all of the promises meade In this Note, The iote
Helder may 6nforce its rights under this Note against each person individually or against all. of us
together. This means that any one of us may be raquired to pay ell of the amounts owed under this

22885 101) . Page 40f 6

 
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Page 15 SAB L cy

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‘10, WAIVERS . "
| and any other person who hes obligations urder this Note weive the rights of presentment end
notlos of dishonor, "Presentment™ means the right to require the Note Holder to deniand payment

of amounts due. “Notice of Dishonor* means the sight to requira the Note Holder to give notipe to -

other persons that amounts due heve not been paid,

11, UNIFORM SECURED NOTE - : cr
This Note ia 8 uniform Instrumant with limited verlations In some jurisdiotions. {n addition to the

protections given to the Note Halder under thia Note, a Mortgage, Deod of Truat or Soourlty Deed ~~

‘(the "Security Instrument"), dated the same date as this Note, protects the Note Holder from

possible losses which might resuit if { do not keep the promises which § make In thia Note. Thet .

Seourlty instrument describes how and Under what conditions | may be required to make Immediate
_ Payment In full of ail amounts | owe Under this Note. Some of those conditions are desoribed as

followa: :
Transfer of the Property or a Bonsficiel Interest In Borrower,

If all or ony part of the Property or any Interest In the Property is sold or transferred (or if a
beneflolal intersat In Borrower ls sold or transferred end Gorrower is not a natural person)

without Lender’a prior written conaent, Lander mey require fmmediate payment In full of all
sums sscured by this Seourity Instrument. However, thie ception shall.not be exercised by
Lander |f such oxerolse is prohibited by Applicable Lew. Lender also shall not exercise this
option If: {8} the request to ssaume Is made after ons year following recordation of the Deed of
Trust, (b) Borrower causes to be submitted to Lender Information required by Lander. to evaluate

the Intended transferee es if a new loan were belng made to the traneferes; ond (oc) Lender
reasonebiy determines that Lender's security will not be impaired by the ioan assumption and |
thet the lak of a bresch of any covenant or agreement In this Seourlty Inetrument or other —

obligations related to the Note or other Inan dooument le soceptable to Lender, {d} Assuming
party executes Assumption Agreement scceptabis to Lender at ite sole chalce and discretion,
which Agreement may Include an increase to Cap as set forth below end {e) payment of
Assumption Fee if requested by Lender. BO
To the extent permitted by Appilosbia Law, Lender may -cherge a reasonable fee as 6

condition to Lender's consent to the loan eseUmation and Lender may Incréase the mexiinum
rate Iimit to the higher of the Cap or 5 percentage polnts grester than the Interest rate In affect:

at the time of the transfer. Lender may alec require the trensferee to sign an sseumption
agreement thet ls scoeptable to Lender and thet obligates the transferee to keep all the promises

and agrsaments made in the Note and In this Security Instrument. Borrower will continue to bs
obligated under the Note and thie Security Instrument uniesa Lender has sntered Into-a written . -

Asaumption Agreament with transferee and formally releases Bortawer, ;
if Lander exerolses this option, Lender shail give Borrower notice of scceleration, The notice

with Seotion 16 within which Borrower muat pay all sume secured by thie Security Instrument.
if Borrower falls to pay these sume prior to the expiration of this period, Lender may Invoke any
remedies permitted by this Security Inatrumant without further natlos or demand on Borrower.
_ 12. MISCELLANEOUS PROVISIONS . oo .

In the event the Note Holder at any time discovers that this Note or the Seourity Instrument or

eny other document releted to this loan, celled oolectively the "Lown Documents,” contains sn error

which waa caused by a oclerioal or ministerial milsteke, calovlation error, computer error, printing
error or almilar error (colleotively “Errare"}, | agree, upon notice from the Note Holder, to reexeoute
eny Loan Dooumente that are necessary to Correct any sudh Errors and | eso agree that | will not
hold the Note Holder responalble for any damage to me Which may result from any such Frrore.. |

if any of the Loan Documents are lost, ataten, mutilated or destroyed and the Note Holder cot
delivere to ma an Indemnification In my favor, algned by the Note Holder, then! will sign and deliver ©

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shail provide & period of not fess than 30 deys from the dete the notice le given in accordance -

on

 
 

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‘Page 16

03-2382- ~Osapoodai~2.

to the Note Holder e Loan Document identical In form end conterit whieh will have thie effect at the.
original for all purposes,

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED. -

 

92860 (11-01) a Pega 6 of 6

—_ ae .

 

 
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ID#H 201G-B1 9542 1-CYV
ape J

Prepayment Fee Note Addendum
o2-2362-0se800221-2

This Note Addendum Js made this _szn __ day of _Decembar, 2009 endis
Incorporeted Into and shall ba deamed to amend and supplement the Note mace by he undersigned

(the “Borrower"} in fayor af Washington Mutual Bank, FA. (the “Lender*}
and dated as of even date herawith (the "Note"},.

ar Note Addendum amands the provision in the Note regarding the Borrower'’a right 2 to prepay
88 follows:

BORROWER'S RIGHT TO PREPAY

i have the right to make payments of prinolped before they ara due, Any payment of prinolpal,
before It Is due, Is known ag 4 “prepayment,” A prepayment of only part of the unpald prinalpal is.
known as a “partie! prepayment.” A prepayment of the full amount of. the unpald Principal is kriown
as 6 “full prepayment."

If 1 make a full prapayment, | may be charged a 5 foo a3 follows: .

lf Noteholder recelvas a prepayment on or befora the firet anniversary. of the
date of the Note, the Prepayment Fee shall ba equal to enree percent
%) of the original loan amount, {f Notaholder receives prepayment after
the firet annivereary but on or before the second _ anniversary of the date of the
Note, the prepayment fee shall be two percent (2,000 %) of the original
loan amount, If Noteholder recelves prepayment after tha eacond anniversary but on
or before the —thixd anniversary of the date of the Note, the prepayment fea
shall be percent (1.000 _%) of the ceriginel loan amount. Thereafter,
prepayment or the Nota shall be permitted without any Prepayment Fee.

The. Prepayment Fee shal! be payable upon e full prepayment, voluntary or Involuntary, including
but not limited to a prepayment resulting from Noteholder's permitted scceleration’ of the balarice
due on the Note. Notwithstanding the foregoing, nothing herein shall restrict my right to‘prepay.et =
eny time without penalty acarued but unpaid interest that has been added to principal. -

When | make a full or partlal prepayment | will notify the Noteholder In- writing thet {em doing:
so. Any partial prepayment of prinelpel shall be appiled to Interest accrued on tha amount prepaid a
and then’ to the principal Dalence of the Note which shall not raduas the amount of monthly. .
Installments of principal and Interest {until resmortlzad as get forth In the Note at the next Payment —
Chenge Date} nor relleve me of the obligation to make the instellmants each and every month until
the Note Is peld in full. Partie) prepayments shall heve no effect upon the due dates.or. the amounts
of my monthly payments unless the Noteholder agraes In writing to such shenges.

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03-2382-064800121-2,

NOTICE TO THE BORROWER Fn
Do not sign this Note Addendum before you read It. This Note Addendum provides for the
payment of 8 Prepayment Fee If you wish to repay the loan prior to the date provided for repayment -

in the Note.

By signing below, Borrower sccepts and agrees to the terms and covenenté contained in. this
Note Addendum.

_therde Don

MARK DEES

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: Page 1900

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of nal pati eae ln
Sarg v4 angtble fax Paid #414,60

Wonhing tual Bank, PA he .

GARD OO AR *huDGe ; vayint nit tobe 0 Gas

  

ATTORNEY AT LAW
{00 GLENAIOGE POINT PEWY
SUITE 160
ATLANTA, GEORGIA 90342 |
—~ ee [Space Above This Line For Recording Data} ~--—

Gerald Hf Pudge, Atty at Law

 

avon

SECURITY DEED
‘APPROXIMATE MAXIMUM LOAN BALANCE: 138,000.00 . ‘
(for Intenglple tex ceioulation only 03-27454~0E060019149

DEFINITIONS

Words uaed in multiple sootions of thls document sro defined bolow and other words ave defined
(n Seeftona 3, 11, $3, 18, 20 and 2f. Contain rutos regarding the usage of words used In this

document ore Bisa provided in Boctlon 16.

1A) "Spourity Instrument” means this document, whieh Is deted Deceaper 5, 3003
together with ait Aldara te thig document, :

1D) "Berrower" le_HABX DEMS AWD CEAIRR DEES.

 

 

 

Borrower is the grantor under this Security Instrument.

(G) *Lendae* is —Mashinatoa Hutue BADR..2A. a tataral -aanoointion
Lender !a 0 _Bank organizer end exiating under the laws of

» Lendor'a address is:

— United states of America.
Tender We tha grantee Tae he eae am —— "

{D] "Note" means tha promlagory note signed by Boirowar snd dated Recembyr §, 200)
The Note atsies that Borrower owes Lender one ifundred Tea Thoweand Pour Mundred &
oo/ioo

 

 

Dollars (U,3. § 400.0 T plue interest. Borrower hue promagd to pay this debt
In seguisr Parlodic Payments end to pay the debt in ful not leter thon ‘
1£) "Property* moans the praporty that le daserived boloy under tha heading *Hanelor al fights
In the Proparty,” .

(Fd "Loan" mesne the debt evidenced by the Note, plus Interest, any prepaymgnt charges and iets
pherges due under the Note, end all sums dua under inls Geourtty Instrument, plus Interest,

BE bron Pope 1 of 17

 
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Page 28

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03+2362-064800221-2 ,

(G) “Riders” meang aif Rldore to this Sactrity tnetrument thet @r@ exoouted by Borrower, The
fotowing Riders ere to ba ttocuted by Bortaweér Icheck box as applicedia):

[Si] Adjustable fete Ritor [LL] Condomintuns Rite Lt 1-4 Faety Rider
Grecksated Payment Rider O Planned Valt Development Rider = |") Blwostdy Payment Rider
Asloon Rider Rate braprovernent Ridat '(] Setend Home fiver

FT} Othesle) Ispacity} .

tH) "Applicable Law” means ef controlling appliceble fedarel, state and local sistutes, regulations,
ordinances and edministrativa rules and cedera duet have tha affact of low! aa wall aa all
spplicabdts final, non-sppeateble judicial opinions.
(1k "Community Assoclation Dues, Fass, and Astesemente” maans ail duce, fens, sesatsments
and other charges that era Imposed on Borrower or the Property by a condomiialum association,
homeowners aseoofation or similar orgorization,
4d} “Blecteants Funda Tranwfer” means any tronefer of funds, other then « trenezotion originated -
by chook, draft, or simfar paper Instrumont, whieh Is inilated through ‘an elestidnta terminal,
telophonio insteuniant, computer, or magnetic tape aa a8 to ordor, inatruct, of authorize a fidunotal -
institution ta deblt or cradit an account. Such term includes, hut Is nat timited te, point-of-sale
qanaters, eurometed taller mashing trantaciione, transfers Inhiated by telephone, wite transters,
ond qutomated alaainghoure ttansfata,
{Kl “Excrow Heme” means those iteme that are Gegoribed In Section 3,
{L} “Miscafansous Procesds” means any compensedon, petiiement, pwvard of damages, or
proceeds, whether by way of Judgment, settlement or otherwise, pol by my third party, father
than {naurango proppeds paid under the coverages described in Spotion 6) fort i) demage to, or
dastruatlon af, the Proparty: 8] condemnation or otter taking of all or any part oF the Property:
{i} convayance fn feu of condemnation: or div) misrapresentotions of, of omissions as to, the
value endfor condition of the Property.
(ARF “Mortgage Iwurance” mesne insurance protecting Lender again the nonpayment of, or
dofavit on, the Loe,
: (ND *Periodic Payment™ meana the regularly achaduled amount due for dl) prinatpal and Intoroat
under the Nota, plus (i) any amaunts under Section 3 of this Seoutty Insteumoent. —-
(Ol “AESPA™ meens the Real Estate Settlement Proqaduzos Act (12 U.S.C. Section 2601 et seq.)
and ks Implamenting rogulation, Regulation X (24 ¢.F.A. Pert 3600), es they might be amended —
trom tima ta timo, or any additigne! or successor fegislation of regutation that governs the seme
subject manor. Aa used ta thle Security instrament, "RESPA® cafera-ta all raquirements and
rostrotions that are Imposed In regard to # “federally related mortgega loon” even H the Loon does
not quality an a “foderefty related mortgage foen* under RESPA,
{P) “Succensor is Intercat of Borrower” means ony perty that het taken Ute to the Property,
prener or not thet party hea assumed Borrower's obifgattone under tho Note and/or this Beourity
netUMaAt.

‘TRANSFER OF RIGHTS IN THE PROPERTY

Thie Seourkty instrument secures to Lender: fi! the repaymont of the Loon, end all renevvals,
oxtensions end modifications of the’ Noto; {i} the pertormanca of Borrower's covenante and
agreements under thly Seourity Inatrument and tho Note; and (4t) the performance of af
agreements of Botroyar to nay fees and charges arising out of the loan whether or not herdin set
forth. For thie purpose, Borrower irevaoedly grants and conveys to Trustee, in trunk, with power

Bae prety Pepe 2 of 17

 
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Page 2)

Dated Bock L39O7.Py SEAL

03-2352 ~064800121-2 :

. af tala, The following datortad property located in robb County,
corgia 3

OH RXHIBET "A"

 

 

which currently hes the address, Of 17 RIMELAND.CERCLR Ay

nar
j + Georgie (Pr Addresy"):
_ — ea. ce PRE openty °

TOGETHER WITH ail the Improvements now or hereatter erected on the property, and sll

Sssamonts, appuitenances, ond (hturey now oF hereafter 6 Part of the property, All replatamonta —

bn additions sheli alu be covared by this Beourlty Instrument. Al! of the foregoing Is refarred to
in this Security Instrument-as the “Property,”

BORROWER COVENANTS that Borrower (s lawfully ecleed of the astote hareby conveyed
end hae the right to grant and convey the Piopesty and that the Property is unsnoumbarad, sxoept
tor encumbienwss of record, Botvowor warrants end will defend pertrally the ttle 10 the Property
ageinet HE oleime end domends, subject to any encumbrances of record, :

THIS SECURITY INSTRUMENT: combines uniform covensnte for heuénel use end

non-uniform ooverente with tenited variations ty furlediction to conathuie a ualform seqwity
Instrument covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree 48 follows:

_ 1, Payment of Principal, Intervent, Exorow Iteme, Prepayment Charges, and Late Chargic,
Borrower shall poy when dus tho prinolpel of, and inferast on, the debt evidenced by the Note and
any propayment charges end lute chacgée dua under the Note, Borrower ehall sleg pay funds for
Escrow [tome Puravent to Beotlon 3. Paymonte due under the Note and thle Boourity Inatrument
shall bo made In V1.8. currency, However, If any check of othor Instrument recelved by Lendar'as.
Payment under the Note or this Securdty Instayment te returned to Lender unpold, Lendar may
foquire that any or all suberquent psymenis dus under the Note end tvs Scourity Matrument be
fando in one of more of the following forma, #3 eclacied by Lender: (e) cosh; (b) money order} {o)
osrtified chack, bank cheek, tessurar's check or ceshler’s chock, provided any auth ohack is
dravin upon én Inatiution whose deposits are neuvod by a federal egency. Inttrumentelity, o7
entity; or {d} Bactronks Funds Transfer,

Payments ara deemed received by Lender when received et tha ovation deslunated In the
Nota or at such othe: loostion as may be designated by Lender In accordance with the notloe
provisions hi Soeton 18, Lender ntsy tetuin say payment of pardel payment if the payment of
Partial payments are inauifiotent to bring the Loan current. Lender may eccapt any paymeni or

Pertil payment insulficlent to bring the Laan event, without wohrer of sny rights hereunder oe

Prehidice to Ito rights to refuse such payment or perilal payments In the future, but Lendar ls not
- Gbligsied to spply such paymonte et the time such psymants are ecoopted, If each Perfodio

WiPs.0u Page 4 ot 17

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Payment t= sppiled ex of ite sohaduled dup date, then Lander need not pay interest on unappiiod
funds, Lender may hold such unapptied funda untl Botrower mekos payment to bring the Lesn
curront. If Borrower doug not do #0 within a tensonebla pested of time, Lender shell elther apply
such funds or return them to dorrowor, If not applied earlier, euch funds wilt be applied to tho -
outstanding principe balanos under tha Note Immediately prior to forecloure. No offset or oleln
which Borrower might fave now or in the future sgalnst Lender shall relieve ‘Borrowar from
Making payments due under the Note end thia Security instrument or performing the covenants
ond egreamens agauread by this Security Instrument, :

2. Application of Payments of Proceeds, Except a@ otherwise desorbed In thie Section 2,
all payments aocepied and applied by Lender shail be epplied In dhe following order of priority: tal
Interaxt dus under the Note; (b) principal dug under the Note: (c} emounts due under Bectlon 3, —
Such payments shell bo opplled to each Pododie Payment In the crder in which It beaeme dua.
Any remaining emounts shail be appiled first to Jato chesges, second to any other smounte due
under this Eacurity tasteympnt, and then to reduce the principe! balance'af tha Nota. ~

If Longer recalvos 8 payment from Bortawer for o definquent Parlodic Payment whioh
Inohides a sufficlent amount to pty ny lete charge duo, the payment may bo appiéd fo the
delinquent payment and the Ite charge. If mare then one Pariodié Payment ls outstanding, Leader
may opply sny payment cecalved from Borrower to tha repayment of the Perlodto Payments If, and
to the extont that, gach poymant cen ba pald in full, To the extent thet any axcaes extete after the
peymiant le apphed to tha full paymont of ona of more Porlodic Payments, such exces may be
applied to eny late charges due, Volumtery prapaymente shot be appalled first to any prepayment
chargas and thers ¢ dosorlbad In the Note.

Any soplicadan of payments, Ineurance procesde, or Misosilanggus Proceeds to principal
dus under the Note hai not extend or posipone tho die dete, of change the amount, of the
Perlodio Payments,

3, Punde for Escrow Heme. Borrovves shall pay to Lender on the day Parlodio Payments are
due under the Noto, until the Note Is peld In full, a sum (the "Funde") to provide for payment of
amounts due for: (0) texos end gasssements and other items which oa sttaln priority over this
Seourlty loatrument ap a lien of encumbrance of the Property: 1b) leesehold payments or ground
ronts on tho Property, W any; (c) promlums for any and all Insuréace required by Lender under
Sootion 8; end {0} Mortgage Insurance premlums, If ny, or eny sum¥ paysble by Borrower to
Lendar in fleu of tha payment of Mortgage Insurance pramiums ia apcordanca with the provisions
of Section 10, These Roms are cated *Epcrow ttems.” At origination of at any time during the
tarm of tha Loan, Lender moy require that Communtty Arsoclation Duss, Faas, aid Assessments,
If any, be gaorowed by Borrower, end such dues, feas end ossessmonts shall be an Eyorow ftom.
Borrower shot promptly furniah to Lender all potloes of amounts to bs pad under dls Section.
Borrower shall pay Lender the Funds for Eaccow Items unloes Lender wa'ver Borrower's ebigetion
to pay the Funds for any o+ all Escrow Items, Lander may walvo Borrawar's obligation to pay to
Lender Funds for any-or all Escrow ftema at ony tine, Any auch waiver may only bela writing, In
tha event of such waiver, Borrayee shell pay diotly, when and where payable, the amounts dus
for ony Escrow tema for which paymant of Funds hae been walved by Lender end, if Lander
fequires, shalt fureieh to Lander recalpts evidencing suck payment within much time period ps
Lender may require. Borrower's obligation te make eych peyments and te provide reoelpts shall
for all purposes be doomed to be & covenant and sgrosment contained In this Beoulty fastrument,
aa the phiase “covenant and agrocment® ie vaed ln Sacilon 8, IT Borower'ls obtigated te pay
Escrow Keme dirootly, purauant to a watver, and Bortover tole to pay the amount due for.an
Escrow Hom, Lendet may exercise ite tights ‘under Section 9 and pay such amount ond Borrower
shail then be obligated under Scotian 9 to renay to Lender any such amount. Lender may ravoko

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the welver as to eny or all Escrow {tome at any Une by @ notice given In poverdanca with Gaction
16 and, upon such revocetion, Borrowor shall pay to Loruter off Funda, ead in auch amounts, that
Sta then required under this Section 3.

Lander may, at any tima, cofact end hold Funda In ant amount (} eulioiont to permit Lender
to apply the Funds at the time epociifed under RESPA, and (b) not to excead the moximum
armount a lender can requiva under RESPA. Lender shall e4tiute the amount of Punds due on the
bosia of curtent dete and reasonabis estimates of oxpanditues of futuie Escrow itoma of
otherwise In tocordence with Appionble Lew,

The Funds shalt be held in an insitution whose deposits are Insured by @ federe! agency,
instrumentality, of entity (Including Lendes, tf Leruier Is an Inatlivtion whose doposite are 50
Insured) or In any Epderst Home Loan Bank. Lender ened apply tha Funds to gay the Escrow items
eo tater ton tha time epecitied under RESPA. Lenior shall net chitge Borrower fer balding end
applying the Funds, ennwelly anolyzing the ssorow account, or verifying tha Escrow Items, unless
Lender pays Borrowar interest on tha Furie ‘and Applloable Law permits Lander to meke such ¢
Chargs, Unless an agreement ts nade i wilting or Applicable Law requires Interaat to be pald on
tho Fonds, Lendor shall not be required to pay Borrower eny Interest of éardings on the Funds.
Borrower and Lender oan agree In witing, however, (hat intorest shal ba paid on the Funde.
poner shal give tn Borrower, without cherpa, of annual accounting of the Funde as required by

SPA,

if thero Is & aurplue of Funda held in escrow, a4 defined under RESPA, Lender éhell
Seoount to Bosrower for the excass funde in accordante with RESPA. if there la « shortage ot
Funda held in escrow, as defined under RESPA, Lender shail notity Borravrer es roquited by
AESPA, and Borrower hell pay ia Lender tro émount nocessmy to make Up the shortage In
sccordanca with RESPA, but in no more then twelve monly paymonte. if there ie & deficlonoy of
Funds held In esorow, as defined under RESPA, Lender shall nottly Borrower se fequired by
RESPA, and Borrower shel} pay to Lender the pmount recostwy to moke po the deflotency In
socordante whh REBPA, byt in no more than twelve monthly payments,

pon peyment in full of afl sume secured by thie Soouity Mnetrumont, Lander shail.
ivory tafued to Borrower any Furws held by Lender,

4. Chergey: Lene, Borrower shal] pay oil taxes, sdaesements, chergaa, fines, ond
inposhiong etributabla ta the Property which can attaln pilarty aver tile Seoudty Instroment,
leasehold payments or ground rante on the Property, If any, and Community Asagclation Cues,
Feee, and Asaazamonty, If any, To the extent thet theo items are Eaorow Hens, Borrower shall
pay them in the manner provided In Gestion 3,

Borrower shel promptly discharge any ton which hes priorky over this Socurity instrument
untess borrowaes (a) egress in writing to the paymant of the obligation esoured hy tha ilen Ins
tanner acceptable to Lender, but onty so long as Bowower la performing svoh agreement; (bj
Contests the Ben in good feith by, or defends apsinst anforcamoent of the Fen to, legal procesdings.
which In Lender's opinion operate to prevent the enforcement of the Ran white those proceedings
are pending, byt only until auch procegdings are conctuded; or (o} secures from tha hokler of the =
fen an agreement estlefactory to Lender subordinating the Ken to thie Baowity Inatrumont. If
Lender delorminss thet eny part of the Property tp subject to a Ken whioh oan attain prlodty over *
this Seauiity Instrument, Lender may give Borrower « novos Wentitying ths tien. Wathen 10 days af
the cate on which that notion ly given, Borrower ahall sptisty the lian or take ona or More of the
actions set forth above in ths Section 4, ‘

Lender may require Boriower to poy # one-time charge for a reat estete tax verlfoaton
and/or reporting servicn used by Lender in connootion With this Loen. .

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G. Property tnauranos, Borrower shall keop the Imoravements now oxtsting of hereafter
srected on the Property Insured against loss by fhe, hazerds Included within de term "extanded
coverspa," and eny orher hozarde including, but not Iimited to, earthquakes end flocda, for which
Lender sequires nawanoe. This insuzence dhol be malitalned In the amounts (inoluding deductibte
levela} end for the perlods that Lender requires, What Lender requires purevent to the preceding
sentences can chenge during the term-of the Loen. The Inaufanen corer providing tha Insurance
ati be choaan hy Borrower eublect to Lendor’s right to dlespprave Borrower's choloe, whiah
ripht shell not be exercised unreseansbly, Lender may squire Borrawer to pay. in conneotion with
this Loan, ethers {a} B ons-thne charge for food zoe detecmination, certiflaation aid wrecking
eorvices; or ib} a onv-tine oherge for flood zone detotmmation and certification services ond
subsequent charges cach time remeppinge of elmiiar chenges occur which receonahly might affdat
such determination or oartiflestion, Bowower shal also be responsible for the payment of dny feos
imposed by the Fadoral Emergenoy Managoment Agency in conneation with the review of ay
flood zone datermination resulting from en obleotion by Borcowar. .

If Borrower falle te meintein any of the coverages daacsibed above, Lender may obtain
Insurance coverege, et Lender's aption and Borrower's expense. Londer ie under a0 obtigetion to
purchase pny portloufar typo or eencunt of coverage, Lender may purchase aveh lasurence fom
‘or through sny company acceptable to Lender Including, without Amitetion, an affiiste of Lender,
ond Borrower acknowledges and egrees thet Lendor‘s affiliate may teodiva consideration for such
purchase. Therefore, tuch coverage shell dover Lender, but might o¢ might not protect Borrower,
Borrower's equity In the Property. or the o¢ntente of the Propmty. egoinet eny tes, hezetd or
Hability and might provide greater of leader coverege than was previously [n oligat. Borrower
acknowledged that the cost of tha Insurenes coverage 60 obtelned might. sianificsntly axcead the
pont of Insurance thet Borrower could hava obtained. Any snounts disbursed by Lender under this-
Section B shell bacome additonal debt of Borrower gaoured by thie Groulty Instrument. These
envounta ehatl bear Interest at the Note rete from the dete of disbyrgement end shalt be payable,

_ ‘with sudh intorest, upon notice from Lander to Borrower requesting payment,

All inautance poilcles required by Londar and renewals of such poltoes shal ba subjact to
Lender's right to diespprove euch pofolcs, shall Include 9 etenderd mortgege oleuea, snd phall —
name Lender as mortgages and/or os an addilonal lors payee and Barower furthor agrees to
generally assign rights to Insurance proceeds to the holder of the Note up to the amount of the
outstanding loan balance. Lender shall have the rght to hold tha polioles and renavel cordfioatea:
it Lender requires, Borrower shall promptly give to Lander all recelpte of gold premiums and
zernwel notices. If Borrower obtains any form of insurance coverage, not othorwise required by
Londer, for damage ta or destruction of, tho Proparty, such polloy shall include @ atendard
mortgege oleuse and shall name Lender as morigegée and/or as an additfonsl loss payee

Borrower hereby sbsclutely pnd Icrevocably assigns te Lender #1 of Borrower's right, this
and interest in and to 8! proceeds from eny Insurance: poftoy (whether or not the insurance polloy
was required by Lender) thet era dus, paid or payable with respect f¢ any damage to such:
proparty, ragariess of whether the Insurance policy ia eatebfshed hafore, on or after the date of
this Svourity tnatument. By absokiely and ingvooably aeslgning to Londer all of Borrower's
righta te reoélve ony andi all proceeds from ony insurance pollay, Borrower hereby. waives, to tho
full extent allowed -by law, af of Borrower's rights to recelye any and all of such Insurance -
procesds,

Borrower hereby absolutely end irevocably assigns to Loader all.of Borrower's rlght, title
end interest In and to fa) any and eX claims, present and future, known or uAknown, sbsotute OF
contingent, (2) any and all cousea of notion, (¢) ony and al judgments and sattioments {whether
through Etigetion, madistion, arbitration or otherwies), (d} any and af funds sought ageing or
from ony party of parties whosoever, and {e) eny end al fyuade recelved or recoivebla n

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lactuding but not Emlted to, fend subsidence, lendelide, windstorm, serthquate, fire, flood or ony
other cause,

Borrower agrees to execute, Soknowiedge If sequasted, tnd deliver to Lender, and/or upon
notloe fiom Lender shell request any insurance agency oF company thet hee lesued any Ineutance
polloy to execute and deliver to Lender, ony additonal instrumonte or documents tequasted by
Londer from ima to time to evidence Borrowér'a eheotuse and Livevocable assignmonte set forth (n
thia petagraph. :

. Inthe event of loas, Bortower shell give prompt. netics t0 the Maurance carciet and Lender, *
Londer mey make proof of joss Hf net meda promptly by Borrower, Untess Lender tnd Rorrovver
Otherwise egcee in writing, any Ineurance sioceade, whether oF nat the underlying Insurance wes
required by Lender, shall be applied to restoration of repe-of the Property, If the restoration or
tepeir is ecanomfoatty feastofe and Lendor’s asoutty is not fesxened, Ouring euoh repair and
reatoration perlod, Lender shall have the tight to hold such insurance proceeds until Lender hes
had an opportunity to Inppeot such Property to ensusa the work has bean completed to Lendar’s
eatlsfaction, provided that such Inepection shelj be undorteken promoany. Lender may ciebures
ptoageds for the repelia and testoration in a single payment or inn serles of progiass poymants o
the work fs completed. Unfess on sgreement is made in writing of Applicable Lew requires interaat
to be pald on such insuranes proceeds, Lende! shall not be required te pay Borrower any Interest -
ar earings on such proosads. Fees for publi: adjustere, of other third parties, retained by
Borrower shelt not be peld out of the insurance prooseds and shall ba the sole obligation of.
Borrower, If tho restoration or repel is not eoonomloally feasible or Lender's aacurity vould be
lessened, the ingurance proceeds hall ba applied to the eume secured by ttle Spourity
instrument, whether or not then dua, with the oxcezs, If eny. pald to Borrower. Such Insurmicd
proseoda ahall be applied tn the order provided for In Section 2. ’

if Borrower sbarkions the Property, Lender may file, negotiate ond settle any avoilable
insurance claim end related matters. if Borrower doa not respond within 30 dys to a notice from
Londer thar the Insuronce certier hag Offered to aettle a olakn, then Lender may negotiate and
sattle the claim. Tha 30-day pedod will begin when the notive Is given, In sithar event, or It
Lander scyyires tha Property under Section 22 of othenvieg, Borower hereby sselgns to Lander
(af Borrower's rights to any insurance procesds In an amount not 10 exceed the amounts unpald
Wrder tha Note or this Seourty Inetrumont, and fo) eny other of Borrower's Fights (other-than the
Bght to any refund of unsotned promiuna paid by Bourower) under all Insurance pololes coyorng
tho Property, insofar as such rights ere applicable to the coverage of the Proporty, Lender may
Usa the Insvrarton pioovode either to repair of (estore the Property of to pay amounts unpald under
tha Note or thle Sgourity instrament, whother or not then dus.

6. Cooupency, Borrower ahall occupy, satsb¥eh, ent use the Property as Borrower's
pilncipal tesidonce within ality days efter tha axesution of thie Seourity Instrument and shall
tandinvs to occupy the Property 46 Borrower's princival condenca for at Jeaat one year after te
dat of ocoupancy, unless Lender otherwise egreas In writing, which-censent ahall not-be
uneaasonsbly withhold, of untess extenuating croumstancss exist which ete beyond Baitawa's
control, .

7, Protervetion, Matrtenance sad Pretection of the Property: Inspections. Borrower ahell
Not destroy, damage or impair the Propécty, or remove or demolish any building thereon, ellow tha =

. Property to deterlorate or commit waste on the Propérty. Whether or not Borrower ts residing fn”
the Property, Borrower shall maintain the Property In good condnion and capal in arder to prevent
the Propeny from doteriorating or docseasing in value due to ite condition, Unless It Is datercmined

’ pursuant to Seaiton 6 that tepals or restoration {se not woonomioally featibie, Borrower shalt
promptly repair the Property In good and workmanlike manner ff damaged te svold further

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oterforetion or demega, Lender shell, urdess otherwise agreed In writing between Londe and
Borrower, have whe tight to holé insurance or condemnation procedds, If Inauranca’ or
condemnation proceeds ora peld i connection with demege to, or the taking of, the Proparty,
Borrower shall be responelble tor repairing ar restoring the Property only if Lender had roleesed
proupeds for such purppsea, Lender may disburee prooeode for the repeira und reetoration In o
eingta payment or In a saree of piogress paymente as the work Is nompieted, ff thie Intwrance oF
condemnation proceeds sve not auificient.to reper of restore the Property, Borrower ts not
rallaved of Borrovrer’s obligation for the complatlen of auch repalr or restoration.

Sender or fos agent may mako reasonabla enides upon ond Inepactlons of the Proparty, If it.
hos ressonsble cause, Lender may inspeot the interior of tho improvements on the Property.
Lender shall give Borrower notice at the thm of or prior to euch an intertor Insnegtion epecitying
suoh resmonable cmvec, Lender doas not meke pay wartenty or reprosontation regarding, and
assumes no responulbliity tur, the work dane an the Propatty, and Borrower shall not have any
right co rely In any way on eny Inspeotion{s) by or for Lender or Ite agent. Botrowar shalt be
solely responsible for datermining that the work Is dono in a good, thorough, efficient and
workmantike mettnor ln accordance with ell applicable lawe, ‘ .

Borrowar ahall (4) appear in and dufend any actlon or proceeding purporting to effect the
socurtty haracf, the Property of the sighta of powers of Lendet or Yrustoa; (bh) at Londar's option,
assign to Lander, to the oxtent of Lender's interest, any cleinis, demande, or cours of gation of
eny kind, and sny eward, court ludgament, or procesde of gatilemant of ony stich olsim, demand
or cavse of adtion of any king which Borrower Aovw has or moy hereatter soquie arlaing our of or
relating to any Interest in the segquialtion or ownership of the Property, Condor and Trustee shel
not have any duty to proseollte dny avoh ollm, damend or cavas of eotton. Without Hmitng the
foregoing, ony euch olaim, damand or cause of action arelng out Of oF relating 10 any interest in
The eoqulsition of ownership of the Property may inctuda (ony such Injury or damage to the : oe
Property including without mit lajury or damage to any atrveluro of inpiavemant situated 0 Lo
thereon, ill} or any oisim or cause of eoflon In favor of Borrower which sites out of the : 7
trangeatton tinanoed in whold of in part by the making of tha loan scoured hereby, (Et any clei
Of dsuse of notion In favor of Borrower (except for bodily injury) Which eaes a6 8 raault of ony
negigent or Improper construction, Inatatlation or copelr of the Property inckding without iimit,
any surface or subsurface thoreof, or of any building or structite thardon or {lvl any proceeds of
Insurance, yhather oF not required by Lender, payebla ag a result of any damage to or otharwize
relating to the Property or any interest therein. Lender may apply, use or selense stich monies ad .
received by It In the seme munner 8a provided in Pategraph 6 for the proceeds of insurance. .

8. Borrower's Logn Apailoation, Gorrower shall be tr: default If, during the Loan application
process, Borrower of sny persons or ontition eating ai ihe direstion of Borrower or with
Borrower's knowledga or consent gava materially false, mizleading;.or inaccurate information or
statements to Lender for felled to provide Lander with moterlal information! In connection with the
Loon, Material tepretentations inofude, but are not Mmited tO, ropragentations concerning
Borrower's ocouponsy of the Property as Gorower's princlpal residence, : :

§. Protection of Londer’s Interest in the Property and Rights Under thie Security Inetrament.
if (a) Borrower fally to perform the covenonte-and ggieements contéined In this Beourity
tnstrument, ib) there Is a legal proceeding that might slgaiffeantly slfeot Lender's interost fn the
Property and/or rights under this Seourkty Instrument ‘(such ss a proceeding in bankruptoy,
probate, for condommotion of forfaktueg, for enforcement of a Ron which may stiain priniity over
Ws Security Insirument oF 10 grforoe lave of reguistions!, or (6) Borrower has shandonad the
Property, then Lender may do ond pay for whatover Is cqoeonsble of epproprielé to protect”
Londor’s intoreat In the Proparty ond rights under this Seourlty Instrument, including protecting

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end/oy assessing tha value of the Proparty, end sacuring and/or repaiing the Property. Lender's
sotions can Inctude, but pre not limited ta: te) paying eny eume ecoured by & Ken which has
pilority over this Gacanity Instrument) (0) eppearing in court: end (0) paying rentonable sttomeye’
fess 10 protect ita interest in the Property and/or rights under thie Ssourlty Instrument, Including —
Ite soured position In 9 bankruntoy proodeding. Securing the Property includes, but le not lapitad
to, entering the Propatty to make ropatre. ahange locks, replace of botrd up dodia and wintows.
dein water from pipes, efiminste byliding of other acdo vidtationa or dangerous cendilons, ond
have utiles turned on or off, Although Lender may teke 2otlon under this Section 9, Lender docs
fot hava to do ea and ts net under any duty of obfgetion to do eo, It le agreed that Lender Inours
ito Hebility for not taking eity or all actions autharized under this Seaton 8, :

Any amounts disbursed by Lander under thie Spotion 9 #hall become sddtilonal dott of
Borrower svoured by this Gaoutlty Instrument. These amounts shell bear Interest a the Note rate
from the date of disbursement and shalt be peyable, with such interest, upon notice from Lender
to Borrower raquoating peyment,

{f thia Security Instrument le on a foasohold, Borrower shall comply with aif the provisions
of the lease. If Borrower acquines fea title to tho Property, the leasehold and the top tile shell not
mefge Unless Lender agress to tho moiger In wilting.

10, Mortgege Insurance, ff Lendur required Mortgage Insurance #3 8 Oonditian af making

the Loan, Borrower shell pay the piemlums required to melntein the Mortgage Invurance In sffeat. °

if, for eny reason, the Mortgage Insurance Soversge required by Londe: costes to be available
from tho mortgage Insurer that previously provided buch fnaurance and Borrower Was required to
make soparataly designated paymante towerd tha premiums for Mortgage Insurance, Sorrawer
shat pay thé Promiums required to obteln coverage substantioty equiveient to the Mortgage
Weuranoe proviously in effeot, at a coat substantially equivetant to the aost to Borrower of the
Mortgage Insurance previously in offeot, from an alternate mortgage Inewror selected by Lender, If
substantially caulvalont Mongago Ineuranca coverage ip not available, Borrower ahell continye to
pey to Lender the mount of the seporntely designated payments that wera dua when the
Ineurance overage opased! ta ba tn affect, Lender wif except, Use and retaln those payments 68 A -
hohrefuncebla los8 reserve In Hou of Mostgege Insurence. Suh joas reserve shel bo
hon-rofundable, notwithstanding the fact that the Lows is ultimately paid in full, end Lender ehell
not be required to pay Borrower any Interest or o@tnings on euch foas reserve, Lender oan no
ak a fequire loss rexorvo payments if Mortgage Ineursnos coverage (in the enount and for the
parlod that Lendey requires) provided by an Inswrar sefeated by Lender egain becomes svallebio, 14
obtained, and Lender requires separ daelgnated payments toward the premiums for Mortgage
Insurance, If Lender required Mortgage Insurance aa & condition of making the Loan ond Borrower
Waa fequired to make separately depiganted payments tovatd the promkime for Mortgage.

Tnaurance, Borrower shall gay the oromiume required to maintein Mortgage Ineucance In ¢ifnot, oT

to provides a non-tefundebia hose reserve, until Lender's soquiement for Mortgage Insurance arde
fe accordance with any written egreament between Sdrrower sid Lender providing tar such
terminotion or until terminetion fe roquited by Applicable Law: Nothing in this Beatlon (0 affeats
Borrower's obligation to pay Interpst a1 the rete proviind in the Note, :

Mortgage Insurance telmburesa Lender tor eny enthy that purchases the Note} for certain
losses It may Inoue if Borrower dows not repay the Loan at agreed: Borrower iy not a party to the
Mortgage Ineurance. : so

Mortgage insurers avaluato thelr total risk on all avch insurance in force trom time to Ome,
and moy enter inte egroetiente with other partisan that share or modify thalt rk, o reduce losers,
‘These ogrodmente ero on terms and conditfone that are satisleotory & the mortgage insurer and |
the other party for parties} to these agreomente. Thoes sprooments may require the mortgage

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Insurer to maka paymonts weing eny faurca of funds that the mortgage Insurer may have available
(which may Ineluds funds obtained from Motigage Insurance premlunta}.

As 4 tosult of these agreaments, Lender, any purchaser of the Note, anothor invurer, any
rolnsurer, any other entity, or any affilete of Sny of the foregoing, may ronaiva (direatiy or
Indireotly} amounts that derive from for might be characterized 3) @ portion of Borowar's
payments for Mortgage inaurance, In exchange for eharing o7 modifying the. mortgage Insurai’a
rith, of reducing losses. If auch egraament provided that en offiliste of Lendor takes @ shere of
tho Insurer's flek la axchangs for a sheta of the premiums peid to the insurey, the arrangement ie
aften termed “contive relnsurange,* Furthert

- fa} Any euch agreements will not effect the smounts thet Borrower hee eysood 10 pay for
Mortgaga insurance, or eny oliwy terme of the Loan, Such agreements wil not increase the
amount Borrower wil owe for Mortgage Ineuranos, and they wil not antitle Borrower to say
eafund,

db] Any such egrecments wl not affect the dighte Borrower hes, ~ {f eny' with respect ta
tha Mortgage Inqurance Under the Homeowners Protection Act of 1908 of any other law. These
Nights may inchide the Fight t reneive certaln dwoloeuies, te request and obteln cancetation of ©
the Mortgage Inaurance, to have the Morigege Misurence termminsted autoramicalty, srei/or to
coceive @ relund of any Mortgage inaurence premiums that wore unsamed at the tins of aveh-
cancelletion of lermination, .

: 14. Assignment of Miscelaneovs Prooveds; Forfelturé. Ail Miscolansoue Froveads are
horedy sepigned to end shail be pald to Lender.

If the Property fs domeged, such Miscellaneous Proceeds shall bo epplted to reateration or
repalr of the Property, if the restoration or repalr Is economically fesable snd Lender's security ls
not lessened. During such repa sd restorstion pactod, Lander shall have tha right to hold such
Miscetiansous Procoads until Lendo’ hss had an opportunity to laspeot euch Property fo ensure
the work neeboan completed to Lender's sotisfaction, provided that sich Inspection ghal ba
undertaken promptly. Lender may pay for the repetts snd restoration ina aingie dishureoment or
in & sation of progress payments 28 the work it completed, Uniess en agreement fe made in
writing or Appicable Law requires tsterest to be pald on euch Miscellaneuvs Procaods, Lender
shall not be required te pay Borrower any interest or earnings on such Miscollansous Progeeds. If
the restoration or rape fe not aconomically feaaivis of Lender's snowity would be lessened, the
Miscstlaneaus Proceeds shal] be sppiied to the sums seoured by this Securty inetrument, whether
Or hot then dut, with the excess, If any, pald to Borrower, Such Miscollanaoue Proceeds shad be
sppiiad In the ordor provided for In Suction 2,

In the event of a total qeking, dastructian, or loss In value of tha Property, the
Miweellsnvove Procends shel be applied to the sums scoured by this Security instrument, whether
‘or net then dus, with the excess, # any, pald to Borrower,

la the event of a portlal ceking, destruction, ar loes in wane at the Property in whieh the
felr merkat volue of the Proparty Immodiatoly before the partlel taking, doatruotion, of loss in value
Ib equal to or grooter than tha amount of the eums secured by this Geourity instrument
Inmediutaly belote tho partiol texing, destruction, er loss in value, unlaet Borower end Lender
otherwiae agres in writing, tho sums secured by this Becurity Instrument shell be reduced by the
amount of the Miscolloneout Proceeds multipilad by tha iotowlng fraction: (a) ths total ampunt of
the suma secured Immadistely betore the partial taking, dastruetfon, or toes in value divided by {b)
tha fair market value of the Property Immadistely before the poral teking, destruation, or fess In
value. Any bolsnoe shail bs pald to Barrower. :

in the event of o partial taking, destruction, or joss In value oF the Property In which the felr
marker vaiva of the Property Immediately bofore the pertia tong, desinuotion, or loss in vatue te

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less than the amount of the suma secured lenmedtately bolora the partial tang, destruction, o7
loss In velug, unless Borrower and Lender otharatee sus in writing, the Miscellaneous Proceeds /
thell be ppplited to the sume aeouréd by this Geourlty Insteument whether or pot the aume ae then

dus.

If the Property fa shondoned by Bortavrer, or if, efter notice by Lender to Borrovrer that
ths Opposing Party (ae defined In the next pentance) offare to make an award to gettle a claim for
damaget, Sosrowar falla to respond to Lender within 30 days efter tho deta tho natice le diven,
Lender is suthorized to cofiect and epply the Misceleneovs Proceeds ofthe: to restoration Of tepair
ot tho Property of to the sume ecoured by this Seouy Inatrumant, whother or not thon dus,
“Opposing Party means tho third party thet owes Borrower Mlsosilaneows Proceada or the pevty
ogalnst whom Borrower hav @ tight of scion In ragerd to Micotlanecus Proceeds. :

Borrower shall be In dafautt |t any sotlon of procesding, whether olvil or ariminat, fe begun
thet, in Lendar's Judgement, sould rosutt In forfeiture of tha Property or other matertel mpamont
of Lender's interest in the Property of rights under this Beaurity instrument, Gorrower can oure
tuch @ dafaut ari, If socaleration has cocurted, reinstate os provided In Seation 1B; by ceuaing
the aodon or proceeding to be dismissed with o rung thet, la Lender's fudgement, plodludes
forfeiture af the Property or other matetal impalrmont of Lenders interaat 3n the Property or rights
undor tNe Sooutity Instrument, The proceeds of ony eward or claim for damigos thet aro
stu ueble to the Impelrment of Lorder’s Interatt tn the Property are hereby atelgned and shall be
paid to Landor,

All Misoollancour Proceeds that aro not applad to restoration oF topalt of the Property
ehalt be appiied In the order provided for In Section 2, .

12. Borrowar Not Relumsed; Forbaarence By Lender Hot a Walver, This Seourlty Instrument
cannot ba changed or modified excapt ay otherviae provided heveln or by Dgresment In wilting
soned by Borrower, of any Successor In Interest to Boriower and Lender, Extension of the time
tor payment oF modifioation of amortizetion of the aums soured by thie Security Instrumont
praated by Lender to Eortower of an¥ Suooeasor in Interest of Borrower ahell not opetnte ta
release the Hshility of Borrower or sny Successor In Intorast of Borrower, Lender shell not bs
required to commences propeedings agsinat any Successor In interest of Borcawsr of to retuse.te
oxtend timo far payment or otherwise modily amortization of tho sume eoqured by thia Security,
Instrument by reason of eny demand made by the orlginel Borrower of eny Sucosssnte in interest
Of Borrower, Any forbearence by terdés In oxarclsing any fight or remedy Including, without
limitation, Lenders eocsptenoe of payments from third persons, entitles of Suocasaors In interest
of Borrower of in amount leds then the amount then dus, aholl not be = walvar of or prankida tho
sxerclee of bhy right or remedy. No welver by Lender of eny right under this Sacurlty Inetrument
shell be aifective unless in writing. Walver by Lender of any Fight grented to Lender under thie -
Security Instrument or of say provition of thie Ssowity Insiument a9 to eny teansaation or
scowrohco shall not be desmned 4 waiver se to any future Tenasotion of ooourrente,

13, Joint and Severed Liabibtys Co-signérs: Suocesacrs and Assigns Bound, Borrower
Covenaete and agrees that Borrower's obligations and lisblifty shail be joint end eqverel,- However,
any Borrower who oo-signs this Geourlty Ineument but doos not axecuts the Note. Ge
"co-elgner*): (a) Is co-aigning this Sdousity Instrument only to mortgage, grant and convey the
Gealgner's Interest In tho Property under the terns of this Seourty tnvtrumenh (b) ls not
personally obligeted to pay the sume secured by this Securlty instrament; und (of Bateos thet
Lender ‘snd ony other Gorrower osn agres to extend, modify, forbear of moke sny
socommodations with regard to the terms of this Seourity Instrument or the Note-withaut the
0-slaner’s consent, : :

_ Subject to the provisions of Section 18. any Successor In Intersat of Borrower who
sseumes Aortower's obligations under this Security Instrument In wating. end ta approved by

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Lende:, shell obtain ell of Borrowar’e rights ond bonotits under this Security Instrument, Bocrewar
shall not be released from Borrower's obligations snd Tebllty under this Seourlty Inetryment
unless Loree taroea to svoh release i writing, The covenants end agreements of this Seaurily
Instrument shell blind {except ae provided in Section 20! and banofit the sudcossore and assigns of

Lender. :

14, Loan Changes, Lender may charge Borrower fass for services performed ln connection
with Borrowar's Usfavit, for the pumposs of protecting Landos’s interact In the Properly and sights
under this Security instrument, Inchding, but not United co, attormays' fos, property inspeation
and valuston feas. Borrower shall psy auch other charges as Lender mey deem reasonable for.
gorvices rendered by Lander and furnished at the request of Borrawer, any Successor in Ingeroat
to Borrower or say agent of Borrower, In regard to Bay olher fees, the sbaanco of express
suthorlty In this Security, instrument ta Charge a spacific fs to Borrower shall not be construct as
& pranibition on the charging of such fee, Lender may oot charge faes that area expressly
plohtked by thie Seourity inatrumenc or by Applicable Law. -

If tha Lonn is subject to a lew which sets maximum loan ohorges, and thet lew Is fineily
Intetpreted $0 that the interest er other loan charges colooted of to be collected In conneotion
with the Losn exceed tha permitted limits, then: fo} any such losn ohaigo shall be reduced by tha
amount necessory to reduce the charge to tha poimitted nit; and Ib} any sums Aready collected
from Borrower which exceqded permitted IImite wit be refunded to Borrower. Lender may choose
to make this rafund by reducing the pr af owed under tha Note or by making a dlrhot payment
we Borrower, If a refund réduces principel, the reduction wil ba traated os = pertal propayment
without eny pfepayment charge {whether or not @ prepayment charge le provided for under the
Note}, Sorrawar’s acceptance of any such refund made by ditect payment to Gortowor wil!
constitute a walver af any right of adtion Borrower might have srieing out of suoh overchafge, =

18, Novioes. All notices given by Borrower or Lender in connection with this Securhy
inatrument must bo In writing. Ady notips to Borrower In connection with this Securiy instrument
ahul) be deemed to heve been glvan to Sorroyer when meliod by first class mall of when Botually
delved to Borrower's notloes eddroaa if sent by other moans. Notice 10 any one Borrower shall
constitute nolice to all Botrowors unless Applloable Lew expressly requires otherwles, The notica
addices shel be tho Property Addross unless Gorrawor has designated & eubstitute notios addreay
by notice to Lender, Borrower shal promptly notify Lander of Barrawer’s chengs of addrass. If.
Lender specifies 4 procadute for sepording Borrowar's change of sddress, then Borrower shes only
report & changs of address through that spacitied piogodive. There may be only ong designoted
noticn addrass under this Seourlty inateument at any one time. Any notice to Lender shal be given
by dotivering {t or maliing It by fs oless mail to Lender's eddress steted hetely unless Lendor has
dealgnated another addieay by notice 16 Borcowor, Any notice in connosilon with this Seowlty
fnatryment shell rot ba deemad to have been given to Lendar until-actudly recived by Londer, If -
any notlog sequiced by this Saoeity Instniment is also reaquited under Applicable Law, ‘Ind
Apatlcsble Lew requvement will setisfy the corresponding requirement under this Security
Instrument, .

18. Governing Law; Govarabiity; Rules of Construction. This Soourity Instrunent shall be
govomed by federal law and the few of the furlediation In whieh the Property ie loonted, Al rights
and otiigadona contained fn this Ssourlty fnetrument are subject to any requiementa snd
Inttations of Applicatie Law. Applicable Lay might explleltty of Impicitly allow the portles to
Sgtee by contreat or kt might by eflent, but quch slence shell not ba construed 49 @ prohibkion
againet Bgretmant by contract, In the event thot ony provision of clause of this. Security
Jnsiruinpnt or the Note confikkte with Applicable Law, suoh conilict shell not alfect other
provisions of this Seaurity inerrument or the Note which om ba given effect without. te

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conificting provision.

As used In the Secustty Inatrument: fo} words of the mesovilna gander eel meen and
Include correspondey nauter words or words of the feminine gender: fb} words In the stagular
ahalt een end Include the plure? and vice vareay and fol the word "mey* Gives polo dlec/otlon
without any obligation 10 teke eny sotton, . ,

47, Borrower's Copy. Borrower shail be given one copy of the Note end of this Geourlty
Instrument. :

16, Transfer of tha Property of # Beneficial interest In Bonawer, As used In this Section
16, "interest in the Propeny* means any logel or borefiolal (ntereat in the Property, Including, but
pot Embed to, those bandfictet interoste trancfetred in @ bond for deed, controat for deod,
Ingtetimant seles contract oF eacrow agreoment, the intent of which ls the transfer of tite by
Borrower at a future date to @ gurchavar.

If all oF eny part of tha Property oF eny Interest in the Property is sold oF trenstoried (or If
Borrower tz not @ naturel perean and a henolicat Interoat in Borrower Is eld or transfarred}
whhout Leadée’s priar waltten: consent, Lender may require immodists payment in full of al aums
secured by this Sequity Inatremant, Hovover, this option shat not bo exarctaed by Lender If such
exeroleg is prohibited by Appiivab}a Law. a

if Lender exsrolens thie option, Lender shel give Borrower notlce of acceleration, Tho

notion shell provide @ porled of not lees than 90 days from the date the netica-ls given in”

secordansa with Section 16 within which Gorrower must poy all sume eocured by this Security
Inatrument, Hf Sorrawer fells te pay these eumie pilor to the expiration of this perlod, Lender may
invoke eny remedies permitted by this Seourlty Ineteument without further notiee Or dantand on
Bornower, ,

18, Borrowsr's Right to Reinstate After Acooloration, tf Botrawel maats certaln Conditions,
Borrower shall havo the right to have enforcement of this Security Instrument dlecontimed at any
times prior 10 the earlost oft fot five days dofore asie of the Proparty pursuant to any power of sate
contained in this Boouriny instrument; (b) such other peitod as Appiicsbio taw might spooify For
tha termination of Borrower's reght 60 reinatato: oF lo} entry of 9 pdgement enforcing thle Security -
Inacumant, Those conditions ere that Borrowers (2) pays Lender afl sums which than would be

due under this Sesurlty Instrument ond the Note as if no ecodloration had couurreds () cures eny -

datault of any other covenants or agreements; {0} paye all expeneas Incurred in entoreing this
Seourlty Inatrumont, #ohiding, but not Kmnited fo, rebsonabie etterneye’ feos, property sapedtion
ed valuation (ges, snd other fees incurred for the purpose of protecting Landor’s interest In the

Property and rights under thie Seourlty lastrumenty and (d) tekes such eotion os Lender may -

raesonahly require to assure thet Lender's Interest in the Property 3ed rights under this Soourhy
Instrument, and Borrowers obligadon te poy the sums seoured by thie Geourlty Insteursnr, shall
continue unchanged. Lender may regire that Borrower pay such rolnstatement aums end
expontes {none Or moze of tha following forms, 09 selected by Lendert (od cash; 1b} money order:
{o) certified cheek, bank check, treasurer's check of cashier's check, provided ony auch check Is
drewn upon an Instituion whose deposits ere Insured by a federal aganay, instrumentality or
Shuty; o td) Electronic Funds Transier, Upon reinatatomant by Borrower, thle Seourity Instrument
and obligations eooured hereby ehall romein fully affective as ¥ no acoeletstion hed ovourred:
Howaver, thts right 19 relrstete shell not apply in the Geea of acceleration Under Section 18,

20, Sale of Mote: Chenge of Loan Serviow; Notice of Grievanon. Tha Note of a partial
interest In the Note (together with this Security instrument! cen be eold ona or more tines
without pdor notice to Bosrewer, A aele might resuit ine change In the entity (known es the
“Loan Service} that collects peclodio Paymants Gua under the Noto and thia Security Instyument
and performs other mortgag® loan servicing Obligations under tha Note, this Security instument,

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and Applicable Low, Thero also might ba one or more changes of thé Losn Servloes gnualated to a

asle of the Note. if there bs a ohonge of tho Loan Saivicor, Borrower wil bo atven wiltten notice of

the change which wil stete the name end address of tha new Loan Servicer, the addrass to Which

pryments should bo moda and any other information RESPA requires in connection with » notices

of transter of servicing, If tye Noto i sold and thereafter the Loan Is serviogd by a Loni Servicer

other thon the purchaser of the Note, the mongege foun servicing obligationa ta Borrower Wi,
remein with the Loan Servicer ar be tranofarred to a evocessor Loan Garvioar and ara not assumed

by the Note purchaser unfoss otherwise provided by the Note pirchast. :

Neither Botrovrer nor Landor misy commence, join, or be joined ta any judiofel actign (a9
elthes an individual Hflgent or the mamber of a olssa} thet arlese from the other perty’e satlons
puravant wo thls Saourlty Instrument ov thet elegss that the othor party hee breached any
provision of, o¢ any duty owed by raason of, this Security Instrument, until such Borrower or
Londer has notified the othor party {with auch notices glven in oomplianas with the requirements of
Seotton 16) of auoh alloged breach end afforded the other party herato o raseanabls perldd after
the giving of such notice to take corrective action, Hf Applicable Law provides 9 time period which
must ¢lapaa before certain ection can be tekon, that tine period will be deemed to be ressanabls
for purposes of thle parcareph. Ths netics cf evceleation and opportunity to sure given to

Borrawer pussuent to Seaton 22 end the notice of accoleration given to Bonower purauant to -

Beotion 18 shall bo deamed to xotlsfy the notle and opporiunity to take corrective action
provisions of thle Section 20, , ,
24, Hatardous Substances, Aa used In this Section 27: a) “Hazardous Substences® are

these substences definad as tonfo or hazatdous echetences, pofutente, or weates by .

Envkonmental Law end the fofowing substances: gesoling, kerosene, other flammable or tox
petroleum’ products, toxld pectioldss end herbicidos, volevle solvants, satelals contsining
asbestos cr formaldehyde, and radiozctlve meteriats; ib} “Environmental Law" mesns fedecel Iavre
end lows of the jurlsdiotion where the Proparty is tooated that relate te heelth, eafety ar
aavironmentel protection) {a} *Entvitonments! Cloanyp™ includes any iasponse ection, romedia
aotion, or ramaval ection, as defined in Environmontet Lavy; and (0) on "Environmental Condition”
means & condition that can cause, contribute to, of otherwise tigge: an Envkonmental Cleanup.
Borrower shall not osuse or permit the pretends, use, diiposel, storage, or release of any
Haterdous Substances, or threaten to selonsa any Hazerdaus Substances, on or in the Property.
Borrower shall not do, nor alow enyons alse to da, anything sffcoting the Property (a) that fa in
Vielstion of any Environmantal Lew, (b} wiles crestes an Environmental Gondltion, or {o} which,
due ta the presence, uae, or release of & Hazerdous Substance, crastes u condition that adversely
affects the value of tha Property. Tha preoading two sentonoos shall noi epply to the prasaice,

veo, oF storage on the Property of amalf queniities of Hazardous Substences thet se generally.

feoognized 19 ba spproprinto ta narmal residentiof used and to maintenance of the Property
linoluding, but aot Amited to, hazardous substance in oonaumer produata), - .

Bowower shalt promptly give Lendor written fotiee of ta) any investigation, olelm, demand,
lawsvil or othor action by any. govermmontel or reguidtory agency oF private party invofving the |
Property end any Hazardous Substance of Environmental Law of which Borrower hae actual
knowledge, (b} any Environmental Condition, meluding but not (Inited to, any spliing, leaking,
discharge, selaase of threat of relesas Of any Hazerdous Substance, and fe} any condition omused
dy the presence, use, or rfease of a Herdove Substtnce whith edversoly affecte the ysiue of
the Property, tf Borrower leerns, of fe notified by eny governmental or regulatory authority, oF any
Private party, that Bny removal of other remediation of any Hozordous Substance affecting the
Property is tieoessary, Borrower shell promptly eke all necersary remedial sections In avoordance
with Environmental Law. Nothing heen ohell ereste any obligation on Lender for an
Environmental Cleanup, : . ot .

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tote NON-UNIFORM COVENANTS. Botrower and Landa further osvonent and egtae as
vet

22, Acceleration; Remedies, Lender eheit give notice to Borrower prior to socbleration
{ollowing Borrower's breach of my Covenant or agreement in this Beourity Instrument (out not
prior to acceleration under Bacton 18 unless Applastle Law provides otherwise), The notice shall
specify: (a) the defaults (bo) tie action required to oure the default; (0) m dete, not lors fhon-30
doys from tho date the notice (a given to Borrower. by which the defautt must be cured: and {d}
thet faRure to cure the default on of before the date spenitied In the note may result In
aposlefation of dhe eure encured by this Beourfty invtrunent and esie of die Property. The notice
shall further inform Borrower of the sight to relnatets afte: acceleration and the tight to bring 9
court ection to seeet fhe nonexistence of » default or eny other dafonse of Morrower to
acceleration and sale, it the defsult te not owed on or before the date apaoitied In the -notice,
Lender at Ite option mey require fmmnediato payment a full of ot! wus seoured by this Security |
Instrument without further damand and may Invoke the power of pxte granted by Borrower end
any other romnadiae pennitted by Applicable Law, Borrower appoints Lender the agent ond
attomey.in-fact for Borrower to exercita ti power of aula, Levider shetl bo entitiod to ookact afi.
expeness Incurred In pureuing the remedies Etovided In this Suotion 22, Including. but not Envted |
to, raakonette attornaya’ feea acd costs of tle evidence, If Borrower or any suaceato? in Intoroeet -
to Borrower Ties lor hae filed against Bortower or any successor In Interest to Borrower) &
binkruptey pettton under Tide IC ox any sueoessot tite of the United States Code which provides
for the cung of prepetilon default dus on the Note, Interest atm rate determined by the Gourt -
Shall ke peld to Lender on post-petition areas, : ‘

Hf Lender Invokes the power of ealg, Lender shell pivé a copy of 9 notice of sale by public
advertisement for the tinte ond in the meaner prescribed by Applicuble Laws Lander, without
further demand on Borrower, shia sell the Property at publlo avotion te the highest biider at the
time and place and under the term Ceslgnated in tha notice of sale kt one OF more parcele anid in
ary order Lander detentines, Lender or kee devlgnee may purchase the Property at any eee.

Lender shall corvay to the purchaser txlefeasible Utle te the Property, and Borrower
hereby appoints Lender Gorrower'e agent and ettomay-in tact to make such oonveysnes. the
teoitals tn the Lendet’s dead shell bs prima tack evkiente of the tuth of the ateternente meade
therett. Borrowat Oovenants énd agrees thet Lender thall apply the proceeds of the sale in the
following ordvr: (s) to al expenses Of the sele, Including, but not limited to; reasonable attorney's
feae; {b} to all cums sacutad by this Geourity Inetrmact; end (6) any axcess to the person or
paraone togsily enititied to It. The Dower and agenoy granted sre coupled whh on interest, ove
Smavocable dy death of othereien and are cumietive fo the remedies For cotsotlon of det oa”
provided by Appicabie Law, ‘ .

If the Property Ia sold pursuant to this Section 22, Borrower, oF ony pwracn hoiding
possession of tie Property through Borrower. shall knmediataly surrender possession of the
Property to the purchaser at ties vale. if possession fa net surrendered, Borrower oF euoh pereon
shall be a tenant holding over and may be dhpossesséd In eovordence with Applicable Law.

23, Release, Upon payment of all sure sooured by thie Becurity Instrument, Lender ehak
ome! this Security Instrument. Bortower ahal pay any tecotdatian coste, Lender may charge
Borrower @ fap for felaaaing this Seourty instrument, but enty ff the fea ls not prohibived by -
Applicobla Law. .

24, Walver ot Homestead. Borrower walves all ighte of homestead exemption In. the
Froperty. . . .

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Page 34

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2%, Aveumption Not a Novation, Lender's pocopiente of an sssumption of the
obfgations of this Security Instrument and the Note, end any releese of Borrovrar In connection
thorewith, shall not constitute 4 novation.

26, Seoaxity Used. This convayonoe fe to be construed uncer the existing faves of the
Btate of Gorgias os a deed pasting tits, and not a @ mottdege, ond te Intended to sacura thé
Payment of aif sume Beourdd hereby,

SORROWER ACCEPTS AND AG pace to the terms and covenanta contained In thle Security:
Inatrument ond In any Rider executed opowar and recorded with it, IN WITNESS WHEREOF,
Borrower hws algned and sealed pls Boqurity etiument,

  

MARK DEBS

~ *
t

x
CLATRE DEEA

tS Bron Taye WPotit

 
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Page - 5

Ded Boh 13907, Pp SSSS

03-2352°054800221 -2

 

(Spoce Dslow This Line For Acknowledgment)

Notory Public, oo utkerS County

My Commision Expires: wah oS
ie
2 Sa _N

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“i neil inv

 

 

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sa @&

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Died Berk ABOOT bp BHT

EXHIBIT "A"

All that tact or parcel of fand lying and being in Land Lot 105, 47% Diaticl, 2°
Section, of Cobb County, Georgta, being Lot 42, Mapla Vafloy Estates Subdivision, Unit
lll, Section 1, according te ptat recorded In Plat Book 100, Page 6, Cobb County Records.
Reference to sald plat ia hereby made for a complete dasctiption of the property herein
described. Sald property Is improved property known as 817 Pineland Clrele, according
ta the present system of numbering proparty in Cobb County, Georgia. -

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teed Bork L39Q7 Py BESS

4-4 FAMILY RIDER
Atsignimiont of Rents

03-2553-064900101-2

THIS 1-4 FAMILY RIDER fs made this dey of _ neoember, 2003 , and fe
tnoorporated Into and shall be dasmed to mend ord suppioment the Mortgage, Deed of Trust, or
Security Dood {the *Seourhy instrument"l of the same date given by the tndergigned (the
"Borrowar") to secure Boridwor'e Note to wc NESBA ON WE UBL ZA
ithe “Lender*) of the same date dad covering the Property desorbed In the Socurity Insiazment
and inoatod st:

S17 _PINELAND CIRCLE 3, SARLA TOR, GA 30126 : ‘
. ity Address]: ” :

1-4. FAMILY COVENANTS, In eduition to the covenants and agreements mede In the Beourty
Instrument, Garower and Londor further covenant end apres as followe: ,

A, ADDITIONAL PROPERTY BUBJECT TO THE SECURITY INSTRUMENT, In addition to tha
Property deseeibad in the Security Instrument, the following Hama now and hereatter attached to
the Property to the extont thoy are fixtures added to the Property desolation, ani shal also
vonstitute the Property covered by the Security Inatrument: buliding materale, sppYances and
goods of every nature whateoover now of hereatter loogted In;.on, or used, or Intended to be
used in cannection with the Property, including, Dut not limited to, these for the purposes of
supplying or dtatibuting hesting, opollng, clectricity, gas, water, ef and light, firo prevention and
extinguishing epperatue, agourity end esosss contol spparetus, plumbing, bath tube, water
haters, water closets, sinks. ranges, atoves, refrigerators, dishwashers, disposels, washer,
Sryers, mvnlngs, storm windows, storm doors, ecreons, blinds, shades, ourtsing and curtain rods,
attached mirors, cabinats, paneling end stteched ficor coverings, af of which, -inchiding
soplacemante and sdditfone thoreto, ahall be deemed to be and remain a part of the Property
covered by the Security fnetrumant. Alt of the foregoing together with the Property dasoted in
the Security Instrument {or the Jeasehotd setace If the Security Inetrument fe on @ leeschold) aro
teferred to In this 1-4 Family Ridel and the Securtty Instrument as the *Property.” .

8B, USE OF PROPERTY: COMPLIANCE WITH LAW, Borrowor shell not seek, agree to or make
8 change In the use of the Property o: ite zoning classificetions, unless Lender hee agresd in”
writing to the change. Borrower shell comphy with al love, ordinansae, ragulations snd
requiremente of any Qoveromental body eppllozbis to thy Froporty.

C, SUBORDINATE LIENS, Except as permitted by federal law, Borrower shell not allow eny
Hor Inferior to the Seourlty instrament to be perfected against the Property without Lencer’s prlor +
weltten permisston. . : ‘ -

ate nesir . _ Page tots

 
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- Page. a6

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©. RENT L088 INSURAHOE, Borrower shell melntain inayrance against rent love [n edition to:

the othor hazards for which insurance Ie required by Section 6,
E. "BORROWER'S RIGHT TO REINSTATE™ DELETED. Shotion 19 Is calated,

rE BORRGWER'S OCCUPANCY, Unteas Lender snd Borravrar otherwise agraa in writing. the -

Seotion 6 conoamning Gorrawor'a oooupanoy of the Property Is doleted.

G, ASSIGNMENT OF LEASE, Upon: Lender's request atrer detavit, Borrower shall assign ta
Londor all tenses of the Propecty end al! scourity depoults made in oonngetion with leases of the
Property. Upon the ssepnment, Lender shell have the right to modify, extend or terminate the

existing leeees nad to execute new leases, In Lender's sole disoredon. As used in this Paragraph

G, the word "Hess" shell mean “aublonse® If tho Soourity Instrument fa on & loesohod,

H. AEIGNTENT oF no 1 ee QF RECEIVER: LENDER IN POSSESSION.
Borrowers aiy pesigns 8nd tansfers to Lender ol) the rerke snd
ravenues Choe ol tre ro Pope ry pect of to whom the Rents of the Froperty er @ payable.

Borrower suthortzes os | ee tend sore Wis 4o tolact the Rents, w pid roe pve th at eu wen tenent
a Oparty a ¥ | ender oF 1 Lander “ ents
fecelye the Rents Untl wi Lender an Borrower notica of dotpult vieubat | to Boonen 22 Pet

the Seourny Inetrument ng til} Lander has piven notice to td tenent(e) thet the Renta afe to ba
paid to Lender of Lendot’s vert it ataignment af Rants conaltuise on absolute assignment
and not an asalgnment for addition eoourity oly.

HN Lender gives noilcs of delauk 10 Botrower: {I} a Rents received an Boveswer eal shell be held
by Borrower 8% trustes for the benelll of Lander only, to be ap] led tha puns secured by the
Beauly {natroments al Rontar shail ba onthiod 10 calact ell of tha Rents ie
Property. a) Borrower agrees that szoh tenant of the prope shat Ps Hay pall Ron ts duo and unp!
Lander’e egente upon Lender's written d cna to the tensnty an huntese suocbie
low provides oirwiee. a Frente cofiest Londor or Lender's @ ors ouente al shall at ae ean is tras tg
the costs of taking contr ol of anc ria ing 4
at Kral attomsy’s feen, racelver’s fees, rerio on ft ere ante, In meat on
matoenoca geste, ie cea remiums, texan, aasoRsmants ond other oharoes on the Property Ye
by the ity Inetrumont; (viLonder, La
foetal erp Pppinted fe ‘evehver shall be lable to account for onty thosa Renta eotuelly received; end
vi} Lender 5 shal be Sntitled to heva a recetver sp pining $0 take possession of and manage the
oper ty, and collaot the Renta and profits derlyed from the Property without any showing as to
the inadequacy of the Property ae secunty,

If the Rents of the Property ave not sufficient to cover the costs 6 at i taking gontrol of aod
managing ie Property end of collecting tha Rente eny tunds ender for such
purposes shell
pursuant to Section 0.

O06 B01) Paga 2 of 3

'or’s agents or ony .

become Indebtednaas of Borrower to Lender weoured by tha Security Instiumant

 
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Beirowel represents and werrante thet Borrower hes not executed any pros easlanment of the
Flents and has not performed, and will not perform, wy Bot that would prevent tenor | fram
axerolelng Its righta teder this peregraph.

wosinere or Lendec’s egunite, oa a fudtotely Inted recelver, shall not be dejo tes to enter

, toa control of ¢ regis in the x Pror wriy be ad pins ging notice of at ta Foray a ‘
er, Lender, a .
wien 6 e  atautt aacare AN ation of Rents hal OE cure or WeNE. ow schoun a ivtiiiete

any other sight or remied dey, This designment of Rents of the Property shell terminate
whe when ew the ame scoured by the Beoulty heaton eva pald in ful,

|, GROSS-DEFAULT PROVISION.

Borrower's sateait of breach under any ote oF eqroement in which Lender hat an interest hot
be a btepoh under the Security Instrumont and Lander mey Invoke any of the remedies permitted
by tha Seourity instrument

BY SIGNING BELOW, Borrowel eocepte and ogrees to the terms and provisians aantained In
thie 1-4 Femily Ridsi.

Mardi Moe

MARK DEES

CLAIRE DEES

web ord) Page Bona

' , Deed Buk ASIOT Py SESS

 
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Page

Dud Bek 1SNOT fy SIGS

ADJUSTABLE RATE RIDER
{12-MTA Indox - Payment end Rete Caps)

03-2352-0848001 21-3

THIS ADJUSTABLE RATS RIDER fs made this _ seh dey of __ paoebar,. 2902 '
and fs Incorporated into end shell bs daemad to amend and. supplorment the Mortgage, Oeod at
Trust, of Seovilty Dood tthe "Seowity instrumant’) of the anne data given by the undecsigned
{the "Berrower") 10 secure Borrower’a Adjusteble Rate Note (the “Hote") to

Washington Mutual Banks il {the "Londe:*) of the same date and
sovering the property described In the Security Insiument and located ay

"Property Addrans} .

THIS RIDER CONTAINS PROVISIONS ALLOWING FOR CHANGES iN MY INTEAEST
“RATE AND MY MONTHLY PAYMENT. MY MONTHLY PAYMENT INCREASES WiLL
HAVE LIMITS WHICH GOULD RESULT IN THE PRINCIPAL AMOUNT | MUST REPAY
BEING LARGER THAN THE AMOUNT T ORIGINALLY BORROWED, BUT NOT MORE
THAN QF THE ORIGINAL AMOUNT 10f ¢. 138,000, 96 ),
MY INTEREST RATE CAN NEVER EXCEED THE UMIT STATED IN THE NOTE AND

RIDER. A BALLOON PAYMENT MAY BE DUE AT MATURITY,

ADDITIONAL COVENANTS. In sdditlon te tha covenents and egreaments made in the Senay
Instrument, Botrower nd Lender furthor covansnt and agrae gs follows:

A. INTEREST RATE AND MONTHLY PAYMENT GHANGES

____ {ntereat wil be cherged on unpaid Prinoipal untl the full amount of Principal hea beer: pad.
Up until the firet day of the oslenda month thet immediately preceden the fret payment dup date
set forth tn Gaation 3 of the Note, | wAl pay Interest at a yowty rate of 4.602%. Thareaftor
unt the firet Chenge Date (as defined In Geotion 4 of tha Note) | wil pay interset at. yeerly Teta
of peta %, The interest rete | will pay wil thereefter change ki poourdance wih Seatlon 4
@
tro 4 of tha Noto provides for changos in tho Interest rete and monthty peyntent as

MiGs

 

uO Poge 1018

 
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4 in chong RATE AND MONTHLY PAYMENT CHANGES

Change Dates
‘Tha interest rete ot owill pay may chenge on the rst. doy of
We SRST a tt rid on tat dey avery month thereafter, Each such dsy
ts called # "Change Date‘.
{B} The Index .

On exch Change Gate, my interast rate wil ba Gaded on an Index. Tha “Index” Ie tha
Twalve-Manth Average, determined ot sot forth below. of tho onnuél yields on eotlvely traded
United Stetes Tressury Securltise edfuated te a constent maturity of one year es publlahed by the
Federst Reserve Boord In the Federal Reserve Statlatice! Relouse antitled "Selected Inerest Rates
(H.163* (the *Monthty Yielda*), The Twalve-Month Average Is determined by adding together the -
Monthly viokds for tha most recently svetablo (wolva months ond dividing by 12. —

The mast recent Index figure avaliable os of the date 16 days hefore nach Change Date Is
called the *Curtant Index”, ,

i? the Index Is no longer ev@labte, the Nota Holder will ohoosa a naw Index which Is based -

Upon comparsule information. The Note Helder will give me notice of thie cholea,
(0) Interest Rate Changa
Before ogoh Changs Date, the Note Holder wilt celouiata my new interest rete by eddirig

three & ‘Three-Tentha ercentage Pointe %

(‘Mwgin") to Current Index. Tho Note Holder.will than round the vont of this addition to the
neacest one thovasndth of one percentage point (0.001%). Subject to the limits ststed In Section
4(0) batow, this lounded amount will be my new Interest rate until the next Change Date, [4 the
svont a now Index is selected, pursvant to paregraph 4(B}, a how Morgin will be detarmlnad, the
naw Margin will be the ditorence betwean the average af the old index for tha moat recant three
year parlod which ends on the lsat date the Index was syoleble plue the Margin on the last date
the okd index was evallable and the averege of the naw index for the moet vacant threo year
pavlod which ends on thet date (or if not avalébte for such thico yeor netted, for auch tims es It Is
avallabla), The difference wil be rounded to the next highar 1/9 of 1%,

(D} interest Reto Limit

My interest cate will never be gronter thin 9.500% ¢"Cap"), except that following any
sale of transfor of the property whith escures repayment of this Note after ths ret interest rate
Change Oeste, the maximum Interest rate will be the higher gf the Cap or & percentage potrts |
Qroster then the interest rate in affect at the yma of such eele or transler, .

{8} Payment Changs Dates

Effeotiva every ycer commencing  Hebrusry 1, 2005 and on the karte
Gate spch twelfth month thereafter ("Payment Change Data"), the Note Holder will dotorming tha

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Dad Buk 23907 Py BGS

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amount of the monthly payment that would be sufficient to ropay the projected Prinolpal betence |

an expected to owe as of tho Payment Change Date in ful on the maturity dete at the Interest
fete In affect 45 days prior to the Paymont Chango Dete In svbatantlalty equal geymente, The
rovalt of thle aatovlation Je tha now amount of my monthly payment, sublect to Section 4(F)
below, and | wil make payments in the new amount unt! the next Payment Change Date untess
my payments ere changed earlier under Section Aft) of the Note, . ‘

{F) Monthly Payment Linietions

Untess Section 4{H) end 411) below ha tho amount af my new monthty payment, beginning
with e Fayment Chonge Date, will be limited to 7 1/25 more o¢ [avs than the amount | have baen
paying. This payment oop sppites only to the Principel Payment and does not ppply to eny escrow
payments Lender may require under the Becurity Instrument.

(G} Ghanges in My Unpeid Principal Due ta Negallve Amortization of Accelerated Arsoriization

Sinica My payment amount changes tesa frequently than the Interest rte acd sivas the |

manthly payment ls subject to tha psyment Iknitetions desorbed In Seotion 4iFE, my monthly
payment could be iass or greater than the amount of tho interest portion of the manthly poyment
thet would be aufffolent to repay the unpald Prinolpal | awe st the monthly payment date in full on

the maturity data in eubstentislly equal payments. For eect month that the monthly payment is’ -

less than the interest portion, the Note Holder wil aubtract tha monthly payment from the amount
of the Interest portion and wit add the difference to my unpald Principal, and Interest will sccrue
on tha entount of this differance @ tho ouitent Interest sete. Por asoh month thet the monthly

Payment is greeter than the Interst portion, the Note Holder will apply the excess towerds a

Princip reduction of the Note.

{HS Lint on My Unpeld Pricisel: Incrseaed Monthly Baymant ,

My unpald Prinolpal osn nevor excead @ maximum smount pqual to 2254 of tte principal
amount origins! borrowed, {n tha event my unpaid Principat would otherwise exceed thet

125%. Smhetion, | wil begin prying # new monthty payment until tha next Paymsnt Chante

Dato nolwithetending the 7 1/2% annual poymant inoresse imitation, The now monthly royment
will B¢ at amount Whith would be sufficient ta ropsy my thea yngeld principal in fufl an the
maturity date et my Interest fate In effect the month prior to the payment due date i yubutentielly
equal paymants. :

0) Requ¥ed Ful Monthly Payment ,

On the _ ETH _ annivareéry of the dua dete of the firat monthly payment, end on that seme

dey every pepri. year thoreatter, the monthly payment will be adjusted without separd to the
payMmant cep fimitetton In Section 41F},
(J) Notlea of Crengee

‘Tha Note Holder wil doliver o: mell to me 4 notice of ony changes In the amount of my

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. Page 43 . ,

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monthly payment before the offective date of any change, The notice wil include information
seared by Jay tO bo pivon me and siso the tiile.ond telpphong number of a parson who vill
eneywat any questiona | may have regoding the notes:

(K) Fallure to flake Adjustments

Hf for any reeron Note Holder falls to make 6} Odstment to the ierest rate oF payment
amount 99 dascibed In this Note, tagatdless of any notice requtiement, | ageoo the: Note Holdar
may, Upon aaovery of euch Talure, than moke the edjuetment es It they tad Gaen mace on time,
} elso gree not to hold Nota Holder responsible for any dameges to me which mey Feeutt ftom,
Note Holder's fallute to make the adjustment and to let the Noto Halder, at Ite option, epply any
excess monies which | may have paid to parilal prapsyment of unpald “Principal,*

8. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER
Section 49 of the Gecurlty Instrument Ip amended to reed a9 foFove:

Transtar of the Proparty of & Bansticlel Interest in Borrowsr. Aa used In this Saction 19,
“interest in tha Propaity™ means ony fagal or banefolel interest in the Property, Insluding,
but mor fimited to, thoes bensiiclel Interests tianeferted In a bond for deed, contiaet for
Geed, Instelmant solos contact or excrow sgreoment , the lntant of whioh Is the transfer of
title by Borrower ct a future date to 6 purchacer. If ell or any pert of the Property or ny
Intereat In the Property fs zold or transferred {or if & henafitiel Interest In Borrower [2 aold
of transferred and Borrower Is not a osturad person) without Lender's prior writtes
censont, Lendar may require Immodiate payment In tal of 28 aume secured by this Seowity
inatrument, However, this option shal nat be oxerolssd by Lender It oxercise te prohibited
‘by Appheobte Low. Lender steo phall not exercles this Gption Ht (a) Borrower causes to be
submitted to Lenday Information required by Lender to evaluate the Intended Iranaferog ae it
© new loan were belnig meade to the transtoras; (ol Lender igasonably determines that
Cander’s scourky wil not be impeted by the loan assumption and that the tisk of 2 brench
of my oovensnt Of sgreemont In thie Security Agrasment of other obligations rotated 10 the
Nate of other loan document Is scosptable to Lender, (4) Assuming party executes
Axeumation Agreement acosptebla to Lender at Ite sola cholo end disevetion, which
Apreament moey Include en Inorease to Cop a3 set forth below and () paymont of
Assumption Fee if requested by Lendor,

To the extent permitted by Applicable Law, Lander may oharge & reatonuble foe a8 2
condition to Lender's convent io ihe lean eaaumpilon, and Lande: may incresie the
maximum interest rete limit to the higher of the Cep of 6 potcentage points Greater than the
interest rate iy effect at the thne of the Iiansfer, Lender may eso require the trenstereo to:

_ 89a on assumption egreemont thot ls teceptable to Loader tid that obligates the

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tansferes to keep off the promltss end ogreemonte mada In the Noto and in thie Saourity
Instrument, Borrowor wit continvs to %e obligated under the Note and this Seourtty —
Instrument unices Lender haa entered into o written sspump~tion agreement with tenateleo
end formally relesnos Borrower,

lf Lender exercises this option, Londer shell give Borrower notica of acadlecation. The
notice shall provide # period of not teas thon 30 deye from the date the notice Is given in
sconidence with Seation 18 within whist Borrower must pay ell sums securod by thie
Sscurty Insuyument. It Borrower fella ta pay thesa sume prlor.to the explation df this
period, Lender misy invoke any remedies pefmitted by this Bacuity Ineteument without .
further notice or demand on Borrower, ,

BY SIGNING BELOW, Borrower accepts aad sotass to the ters and oovensnts cont#ined In

this Adjustable Rete Rider, Borrower-egross to execute any document necessary to rafoim this

Agrooment to accurately refleat the rerms of the Agrooment between Borrower and Banaficlery or
If the originel Note, Trust Deed or othes document |s lost, mudisted of destroyed,

 

sep Ani ta

raion ¥oqe Cath

 
 

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EphibcA | "D ' (6 cevtosua thems | Me)

(7 =3) List of Docu mot
AFFIDAVIT OF NOTARY RESENTMENT

On August 17%, 2010, Mark-Dees and Claire Dees, appeared before me with the
following documents listed below. I, the below signed notary, personally verified

that these documents were placed in an pees an ona y me, They were
sent by the United States Post Office by receipt requested,

The receipt number was:_7007 0820 CoO 0339 7245"
and the mailing was addressed to CHASE HOME FINANCE, J. P. Morgan Chase,

N.A. And also Washington Mutual Bank and was mailed personally by me to the —

address of 6716 Grade Lane Building 9 Suite 910, Louisville, Kentucky 40213.

List of documents (1-8) below:

1, TENDER OF PAYMENT IN FULL WITHIN TEN DAYS UPON ~
PRODUCTION OF REQUESTED DOCUMENTS. (3 PAGES);
EXHIBIT “A” LOAN NUMBERS AND ADDRESSES (1 PAGE)
AFFIDAVIT OF NOTARY PRESENTMENT (1 PAGE).

QUALIFIED WRITTEN REQUEST (20 PAGES) » | |
GOOD FAITH LETTER REQUESTING INFORMATION (5 PAGES),
NOTICE OF OBJECTION TO MODIFICATIONS (1 PAGE)
NOTICE OF REQUEST FOR DEBT VALIDATION ( 1 PAGE) -
NOTICE OF OBJECTION TO FORECLOSURE SALE ( 1 PAGE)

AAANYVPYN

Oy 5 ‘

€
Notary Print Name
. Calf sade |

  

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- Page ‘6

cacdified

Registered Mail Return Receipt Requested :_ 72007 O220 2000 0339 27 4S
August 17* , 2010

TO: Servicing Agent for Lender ,and to the real party in interest .
Loan Number: 0662960343. and all loan numbers listed on exhibit A attached
and also to attorney for servicing agent.

To: Payoff Department
Washington Mutual Bank/ aka WAMU »
and J, P, Morgan Chase, N.A.
‘6716 Grade Lane

Building 9 Suite 910
_ Louisville, Kentucky 40213

Please forward to any and alle entities claiming to be the real party in interest, -

TEN DAY NOTICE OF OFFER TO TENDER PAYOFF IN FULL UPON
PRODUCTION OF DOCUMENTS SHOWING UNBROKEN CHAIN OF ©
AUTHORITY TO RECEIVE , AND COLLECT FUNDS. .

This letter constitutes an offer of conditional acceptance . Although I object to and dispute the amount .
of the payoff demand statement since the client you represent has already defaulted on a prior qualified .
written request to provide the original ink signed note end other documents outlined below which _
would have shown their authority to collect the payoff. However, even though my prior request for the
original ink promissory note has been ignored I am willing to try one more time in good faith to request

your authority to represent the real Jender , and the uabroken chain of authority to receive my payott in in
full which I am hereby tendering in this letter,

Demand is hereby made again for the following documents prior to paying off this Joan in full.

1. The Original Ink Promissory Note. Who is the real lender ? Since the original noté isa
negotiable instrument and therefore may be exchanged for cash. And since there are many
parties involved in this undisclosed securitization chain there is a probability that there could be

. other claimants to this negotiable instrument, Since anyone could potentially have the original
note, only the holder in due course has the right to the payoff. [fit was endorsed in blank please -
indicate so in writing. If it was destroyed intentionally please explain in writing. If this note or
the pool it was co mingled with has been paid by TARP. or insurance proceeds, default swaps,
or setflement finds please indicate so in writing within ten days. Send the original ink signed ..
promissory note front and back or a place that is convenient to me in.the metro Atlanta area to
inspect it front and back with my attorney present in its original form,

2. The original ink signed security deed recorded at the courthouse.

3. The Securities Prospectus that was provided to the Securities and Exchange Commission.
involving the pool or pools of mortgage backed securities my loan was placed in.

4, Acopy of the State Securities Registration number relating to the mortgage backed .
securities pool or pools that my loan may have been associated with. Please answer Yes it is.
registered or No it is not registered.

 

 
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ain along with appropriate recorded, assignments
and written ‘directives from all assignees, a i place to view the originals with my attorney present.
The names and identities addresses and contact information of the all parties in interest and —
intermediaries , nominees, nominal lenders , trustees, and trust documents, master servicing
agreement, pooling and servicing agreement, I want to make sure there was no break in the
authorization chain back to the original party who advanced the funds namely the bond _

- certificate holders. Send all of their contact information, full names and phone numbers so that.
I may compare notes with them.

 

 

involving the pool or pools that this loan was

placed in in,

She pooling and servicing agreement,

8. Any and all insurance policfes in the securities chain and the names 2s of the beneficiaries and
parties of each one and who the claims were made payable to. me

9, Electronic Registration System, Which mortgage electronic registration system wasa | .
participant in my loan and what was the exact nature of their responsibilities? Provide the ©
lenders agreement with the electronic registration system in an unbroken chain back to the bond:
investors and address of service and contact information of all parties in the mortgage backed
securities chain that this loan was associated with.

10. A copy of all trusts and trust documents relating to my loan and the accounting ledgers ar and
current tax and securities registration filings .

il, All monetary transactions and Jedgers. relating to my loan and'to the two pools whichmy .
loan was placed in so that I may verify with my CPA the correct balance after applying all
payments made by myself or third party TARP funds, and default insurance proceeds , to the
original investor who claims to have advanced the funds. ;

Demand is hereby made for the documents listed above within ten days (10) prior to paying this loan i in
full. No payoff in full and no further payments will be made until the items above are provided and the
items attached on good faith notice are either admitted or denied on a point by point basis usinga
sworn notarized affidavit and oath will full fiability from the chief executive officer , or the chief —
financial officer of the alleged lender, and any other party claiming to be the real party in interest ,along
with complete contact information including but not limited to the officers email, phone, and: business
address, In the event you do not respond on a point by point basis to items above this will constitute an
admission that your client does not have the legal right or authority to collect this payoff , collect the
monthly payments, or the legal standing to foreclose on the property. In this event of default , you and
your client will be agreeing that I may at my option file and record with the county recorders office a
revocation of the power of attorney contained in the security deed , and that I may consider the deed to -
secure debt unenforceable and void and that I may at my option file a civil complaint and a lis pendetis,
srescind the loan, revoke the power of attorney contained in the deed to secure debt due to breach of
fiduciary responsibility, and reissue a deed back to myself conveying the property to me or any party
that I designate free and clear of your clients security deed. Upon your failure to provide your authority —
to collect my payoff within ten days will constitute an admission that your security instrument is

. invalid , void, and unenforceable and you will be agreeing to release the security deed on the public
record within 30 days. You will also be admitting that your client will owe a refund to me of all of the
payments paid to date along with my attorneys fees and costs of collection, fines, penaltiesfor -
violations of RESPA , TILA, Reg Z, treble damages for predatory lending and any and all violations “
of state and federal Jaws, You will also be admitting and agreeing that I may at my option file an -

- additional quiet titie action to clear the existing deed to secure debt on the security deed andiall
attorneys fees for this will be paid by your company. Special stipulations whick shall control: Instead of
sending items 1-10 above to prove your company has the legal authority to receive payoff funds simply

 
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provide items number 1& 2 , the originals (signed in ink and not a certified copy) of the promissory
note and security deed, above within ten days and J will tender a payoff in full. These actions willbe
void in any location where these actions are prohibited by law. 7

Please forward these parties to the real creditor, the various-Trustees, the Loan Servicer and MERS and
any other parties in interest who may have a claim to this payoff. ,

Signature Ata te_ Aner
Signature Give LD 2
Notary Public Queers dl aio :

Witness .

 

 
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Exhibit “A”
Mark Dees and Claire Dees .

_ Loan Numbers Street Address

 

0648001220. 91 hebron church rd
‘0662960459. _ 3096 springlake drive
0662960426. 1009 Windsor drive
0662960558. 3226 sundertand drive
0662960400, 505 radio court
-0662960343. 1785 cherry log way
,0662960434, 5126 rockborough trait
0662960509. 405 shadetree lane
0664801253. 2613 milo court
0662960582, 4256 nora lane
0662960616. 610 clearwater place
.0648001287. 2741 treehouse lane
0662960467. 47 hayden court

"066 296 0491, 3531 quall hollow trall
0083437400. 4315 frlar tuck lane Buford

| 0083437392. 4661 broadwater trall
0083437301, 712 shoals circle
0083437442, 6464 East Windsor tane

 
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August 174, 2010

QUALIFIED WRITTEN REQUEST, COMPLAINT, DISPUTE OF DEBTAND
VALIDATION OF DEBT LETTER, TILAREQUEST = .

This letter is a “qualified written request” in compliance with and under the Real
Estate Settlement Procedures Act, 12 U.S.C. Section 2605(€).

Reference: Account # 0662960343, and all other loan numbers listed onexhibitA —
attached hereto and. incorporated herein by reference. (hereinafter the subject loan(s) and
is/are the reference for all questions and requests described below).

Definitions of First Party or Borrower or “(Your Name)” will mean: Mark Dees, and if.
applicable also Claire Dees . By the usage of the word borrower or borrower's Tam not
admitting or agreeing that a valid debt still or ever did exist,

Definitions of Second Party or Lender or “(Lenders Name)” will mean in regards to these
loan numbers, the alleged lender, pretender lenders, all intermediary lenders, nominal —
lenders, J.P, Morgan Chase Bank, N.A., Washington Mutal Bank, also knownas
WAMU, Mortgage Electronic Registration Systems aka MERS, Trustees, Fiduciaries,
any servicing agent , any and all intermediary serving in any capacity with or without —
authority for the real party in interest, By using the term “Lender” I am not agreeing or

acknowledging that any of these parties are the real party in interest or that a valid debt
even still exists.

Dear Sir or Madam:

1 am writing to you to complain about the accounting and servicing of this mortgage and
my need for understanding and clarification of various sale, transfer, funding source, ©
legal and beneficial ownership, charges, credits, debits, transactions, reversals, actions,
payments, analyses and records related to the servicing of this account from its a

' origination to the present date. ;

To date, the documents and information I have, that you have sent me, and the -
' conversations with your service representatives have been unproductive and have not
answered my questions.

Needless to say, Iam very concerned. With ali the news lately regarding the storiesof =
predatory lending, you have Jeft me feeling that there is something you are trying to hide.

I worry that potential fraudulent and deceptive Practices by unscrupulous mortgage -
brokers; sales and transfers of mortgage servicing rights; deceptive and fraudulent
servicing practices to enhance balance sheets; deceptive, abusive and fraudulent

accounting tricks and practices may have also negatively affected any credit rating, .

mortgage account and/or the debt or payments that I am cutrently, or may be: legally
obligated: to. ;

 
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To independently validate this debt, I need to conduct a complete exam, andit, review end.
accounting of this mortgage account from its inception through the present date, Upon
receipt of this letter, please refrain from reporting any negative credit information a any)
to any credit-reporting agency until you respond to each of the requests.

Talso request that you conduct your own n investigation and audit of this socount since cits
inception to validate the debt you currently claim I owe. I would like you to validate the
debt so that it is accurate to the penny!

Please do not rely on previous servicing companies or originators records, assurances or
indemnity agreements and refuse to conduct a full audit and investigation of: this account,

I understand that potential abuses by you or previous servicing companies could have | .
deceptively, wrongfully, unlawfully, and/or illegally:
Increased the amounts of monthly payments;
Increased the principal balance I owe,
Increased the escrow payments;
Increased the amounts applied and attributed toward interest on this account;
Decreased the proper amounts applied and attributed toward the principal on this account;
and/or
Assessed, charged and/or collected fees, expenses. and miscellaneous charges 1 am not
: legally obligated to pay under this mortgage, note and/or deed of trust. *

I request you insure that I have not been the victim of such predatory servicing 3 and
lending practices,

To insure this, I have authorized a thorough review, scamination accounting and audit of
‘ mortgage account # See exhibit A attached by mortgage auditing and predatory servicing
or lending experts, This exam and audit will review this mortgage account file from the ..

date of initial contact, application and the e origination of this account to the present date
written above. .

Again, this is a Qualified Written Request under the Real Estate Settlement Procedures 7
Act, codified as Title 12 section 2603(e) of the United States Code:as well as a request
under the Truth In Lending Act 15 U.8.C, section 1601. RESPA provides. substantial
penalties and fines for non-compliance or failure to answer my questions provided in this
letter within sixty (60) days of its receipt,

In order to conduct the examination and audit of this loan, I need to have fall and
immediate disclosure including copies of all pertinent information regarding this Joan, -

The documents requested and answers to my questions are needed by myself and others
. to ensure that this loan:

 
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1-Was originated in tawtui compliance with all federal and state laws, regulations -
including, but not limited to Title 62 of the Revised Statutes, RESPA, TILA, Fair Debt —
Collection Practices Act, HOEPA and other laws;

2-That the origination and/or any sale or transfer of this account or monetary instrument, —
was conducted in accordance with proper laws and was 4 lawful sale with complete ,
disclosure to all Parties with an interest;

3-That you disclose the claimed holder i in due course of the monetary instrument/deed of |
trust/asset is holding such note in compliance with statutes, State and Federal laws and is
entitled to the benefits of payments;

4-That all good faith and reasonable disclosures of transfers, sales, Power of Attomey,
monetary instrument ownership, entitlements, full disclosure of actual funding source, -
terms, costs, commissions, rebates, kickbacks, fees etc. were and still are properly
disclosed to me, including but ot limited to the period commencing with the original

. loan solicitation through and including any parties, instruments, assignments, letters of
transmittal, certificates of asset backed securities and any subsequent transfer thereof;

5-That each servicers and/or sub-servicers of this mortgage has serviced this mortgage in -
accordance with statute, laws and the terms of mortgage, monetary instrument/deed of -
trust, including but not limited to all accounting or bookkeeping entries commencing with —
the original loan solicitation through and including any parties, instruments, assignments,

letters of transmittal, certificates of asset backed securities and any subsequent transfer
thereof;

6-That each servicers and/or sub-servicers of this mortgage has serio this mortgage in
compliance with local, state and federal statutes, laws and regulations commencing with
the original loan solicitation through and including any parties, instruments, assignments,

letters of transmittal, certificates of asset backed securities and any subsequent transfor
thereof, ;

7-That this mortgage account has been credited, debited, adjusted, amortized and charged
correctly and disclosed fully commencing with the original Joan solicitation through and
including any parties, instruments, assignments, letters of transmittal, certificates of asset
backed securities and any subsequent transfer thereof ;

8-That interest and principal have been properly calculated and applied to this Joan;
9-That any principal balance has been properly calculated, amortized and accounted for, - .

10-That no charges, fees or expenses, not obligated by me in any. agreement, have been:
charged, assessed or collected from this account or any other related account arising out
of the subject loan transaction.

 
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In order to validate this debt and audit this account, I need copies of pertinent documents
to be provided to me. I also need answers, ce: certified, i in writing, to various servicing .

questions, For each record kept on computer or in any other electronic file or format,

please provide a paper copy of all information in each field or record in-each computer

system, program or database used °y you that contains any information, on this account or
my name.

As such, please send to me, at the address above, copies of the documents requested
below as soon as possible. Please also provide copies, front arid back, of the. following
documents regarding account # see exhibit A attached hereto.

1-Any certificated or uncertificated security used for the funding of this account; |

2-Any and ail “Pool Agreement(s)” or “servicing agreenien ;" between the nominal
lender at the loan closing and any party or parties who could claim an interest in the loan -

closing or documents pertaining thereto and any government sponsored entity, hereinafter
GSE or other party;-

3-Any and all “Deposit Agreement(s)” between the nominal lender at the foan closing
and any party or parties who could claim an interest in the loan cldsing or documents
pertaining thereto and any GSE or other party;

4-Any and all “Servicing Agreement(s)” between the nominal Jender at the loan olosing |
and any party or parties who could claim an interest in the loan closing or documents
pertaining thereto and any GSE or other party;

5-Any and all “Custodial Agreement(s)” between the nominal lender at the loan closing
and any party or parties who could claim an interest in the loan closing ordocuments
Pertaining thereto and any GSE or other party; a

6-Any and all “Master Purchasing Agreement(s)” between the nominal lender at the loan
closing and any patty or parties who could claim an interest in the loan closingor _ ..
documents pertaining. thereto and any GSE or other party;

7-Any and all “Issuer Agréeement(s)” between the nominal lender at the loan closing and
any party or parties who could claim an interest in the loan closing or documents:
_ pertaining thereto and any GSE or other party;

8-Any and all “Commitment to Guarantee » agreement(s) between the nominal lender at.
the loan closing and any party or parties who could claim an interest in the loan closing -
or documents pertaining thereto and any GSE or other party; OS

9-Any and all “Release of Document” agreement(s) between the nominal lender at. the
loan closing and any party or parties who could claim an interest in the loan closing or
documents pertaining thereto and any GSE or other party; _
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10-Any and all “Master Agreement for Servicer’s Principal and Interest Custodial -
Account” between the nominal lender at the loan closing and any party or parties who .
could claim an interest in the loan closing or documents pertaining thereto and any GSE
or other party;

1t-Any and all “Servicer’ s Escrow Custodial Account” between the nominal lender at the
loan closing and any party or parties who could claim an interest in the loan closing or ©
documents pertaining thereto and any GSE or other party;

12-Any and all “Release of Interest” apreement(s) between the nominal lender at the
loan closing and any party or parties who could claim an interest in the loan closing ¢ or
documents pertaining thereto and any GSE or other party;

13-Any Trustee agreement(s) between the nominal lender at the loan closing and any .
party or parties who could claim an interest in the loan closing or documents pertaining
thereto and trustee(s) regarding this account or pool accounts with any GSE or other
party;

Please also send me copies, front and back, of:

1-Any documentation evidencing any trust relationship epuding the Mortgage Deed of of
Trust and any Note in this matter;

2-Any and all document(s) establishing any Trustee of record for the Mortgage/Deed of
. Trust and. and any Note; .

3-Any and all document(s) establishing the date of any appointment of Trustee .

Mortgage/Deed of Trust and any Note, including any and ail. assignments or transfers or
nominees of any substitute trustees(s);

4-Any and all document(s) establishing any Grantor for this MorengeDeed of Trust and
any Note;

5-Any and all document(s) establishing any Grantee for this Morignge/Deed of Trust and
any Note;

o-Any and all document(s) establishing any Beneficiary for this MostgngeDeed of Trust
and any Note;

7-Any documentation evidencing the Mortgage/Decd of Trust is nat a constructive trust
or any other form of trust;

8-All data, information, notations, text, figures and information contained in your
mortgage servicing and accounting computer systems including, but not limited to Alltel
or Fidelity CPI system, or any other similar mortgage servicing software used by you,

 
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any servicers, or sub-servicers of this mortgage account from the inception of this
account to the date written above.

9-All descriptions and legends of alk Codes used in your mortgage servicing and.
accounting system so the examiners and auditors and experts retained to audit and review
this mortgage account may properly conduct their work, .

10-All assignments, transfers, allonge, or other documents evidencing a transfer, sale or
assignment of this mortgage, deed of trust, monetary instrument or other document that
secures payment by me to this obligation in this account from the inception of this
account to the present date including any such assignment on MERS.

11-All records, electronic or otherwise, of assignments of this mortgage, monetary -

instrument or servicing rights to this mortgage including any such assignments on MERS, oo

12-All deeds in Heu, modifications to this mortgage, monetary instrument or deed of trust
from the inception of this account to the present date.

13-The front and back of each and every canceled check, money order, draft, debit or
credit notice issued to any servicers of this account for payment of any monthly payment,
other payment, escrow charge, fee or expense on this account,

14-All escrow analyses conducted on this account from the inception of this account until
the date of this letter.

15-The,front and back of each and every canceled check, draft or debit notice issued for -
payment of closing costs, fees and expenses listed on any and all disclosure statements .
including, but not limited to, appraisal fees, inspection fees, title searches, title insurance

fees, credit life insurance premiums, hazard insurance premiums, commissions, s attorney
fees, points, etc, .

16-Front and back copies of all payment receipts, checks, money orders, drafis, tomatic
debits and written evidence of payments made by others: or me on this account. ,

17-All lettérs, statements and documents sent to me by your company.

18-All letters, statements and documents sent to me by agents, attorneys or
representatives of your company.

19-All letters, statements and documents sent to me by previous servicers, sub-servicers
or others in your account file or in your control or possession or in the control or
possession of any affiliate, parent company, agent, sub-servicers, Servicers, attorney or
other representative of your company.

 
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20-All letters, statements and documents contained in this account file or imaged by you, /
any servicers or sub-servicers of this mortgage from the inception of this account tothe —
- present date,

21-All electronic transfers, assignments and sales of thé note/asset, mortgage, deed of
_ trust or other security instrument.

22-All copies of property inspection reports, appraisals, BPOs and reports done on amy

property.

23-All invoices for each charge such as inspection fees, BPOs, appraisal fees, attorney
fees, insurance, taxes, assessments or any expense which has been charged to this
mortgage account from the i inception of this account to the present date.

24-All checks used to pay invoices for each charge such as inspection fees, BPOs, -
appraisal fees, attorney fees, insurance, taxes, assessments or any expense which has been -
charged to this account from the inception of this account to the present date.

' 25-All agreements, contracts and understandings with veridors that have been paid for
any chatge on this account from the inception of this account to the present‘date,

26-All account servicing records, payment payoffs, payoff calculations, ARM audits,
interest rate adjustments, payment records, transaction histories, account histories,
accounting records, ledgers, and documents that relate to the accounting of this. account -
. from the inception of this account to the present date.

OT-All account servicing transaction records, ledgers, registers and similar items detailing .
how this account has been serviced from the inception of this account to the present date.

Further, in order to conduct the audit and review of this account, and to determine all -
proper amounts due, I need the following answers to questions concerning the servicing
and accounting of this mortgage account from its inception to the present date, _
Accordingly, please provide me, in writing, the answers to the following questions:

In regards to Account Accounting and Servicing Systems:

1-Please identify for me each account accounting and servicing system used by you ‘and oe
any sub-servicers or previous servicers from the inception of this account to the present +
date so that experts can decipher the data provided.

2-For each account accounting and s servicing system identified by you and arly sub-
servicers or previous servicers from the inception of this account to the present date,.
please provide the name and address of the company that designed and sold the system.

3-For each account accounting and servicing system used by you and any -sub-servicets .
or previous servicers from the inception of this account to the present date, please provide

 
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the complete transaction code list for each, mh systems 50 that I, and others can edeutely
audit this account.

In regards to Debits and Credits: = oe

1-In a spreadsheet form or in letter form i in a columnar format, please detail for me each
and every credit on this account from the date such oredit was posted to this account as -
well as the date any credit was received.

2- In a spreadsheet form or in Jeter form in a columnar format, please detail for me each —
and every debit on this account from the date such debit was posted to this account as
well as the date any debit was received.

3-For each debit and credit, listed, please provide me with the definition for cach
_ corresponding transaction code you utilize. -

4-For each transaction code, please provide the master transaction code list used ty you ce
or previous servicers.

In regards to Mortgage and Assignment

1-Has each sale, transfer or assignment of this mortgage, monetary instrument, deed of
trust or any other instrument I executed to secure this debt been recorded in the county
property records in the county and state in which my property is located from the.
inception of this account to the present date? Yess or No?

2-If not, why?

3-Is your company the servicer of this mortgage account or the holder in due course and
beneficial owner of this mortgage, monetary instrument andlot deed of trust?

4-Have any sales, transfers or assignments of this mortgage, monetary instrument, deed

of trust or any other instrument I executed to secure this debt been recorded in any
electronic fashion such as MERS or other internal or external recording system from the -
inception of this account to the present date? Yes or No?

5-If yes, please detail for me the names of the seller, purchaser, assignor, assignee or any
holder in due course to any right or obligation of any note, mortgage, deed of trust or
security instrument I executed securing the obligation on this account that was not —
recorded in the county records where my property is located whether they be mortgage
servicing rights or the beneficial interest in the principal and interest payments.

In regards to Attorney Fees:

 
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For purposes of the questions below dealing with attomey fees, please consider ittomey
fees and legal fees to be one in the same.

1-Have attorney fees ever been assessed to this acoount from nthe inveption of this account.
‘ to the present date? Yes or No? _

2-If yes, please detail each separate assessment, charge and collection of attorney feesto
this account from the inception of this account to the present date and the date of such
assessments to this account. .

3-Have attorney. fees ever been charged to this account from the inception of this account
to the present date? Yes or No?

4- If yes, please detail each separate charge of attorney fees to this account from the
inception of this account to the present date and the date of such assessments to this
account, ,

5-Have attorney fees ever been collected from this account from the inception of this
account to the present date? Yes or No?’

6-If yes, please detail each separate collection of attorney fees to this account from the

inception of this account to the present date and the date of such | assessments to this ©
account,

7-Please provide me with the name and address of each attorney or law firm that has been

paid any fees or expenses related to this account from the i inception of this account to the
present date. - .

8-Please identify for me in ving the provision, paragraph, section or sentence of ahy —
note, mortgage, deed of trust or any agreement I signed that authorized the assessment,
charge or collection of attorney fees,

9-Please detail and list for me in writing each separate attorney fee assessed from this
account and for which each corresponding payment period or month such fee was
assessed from the inception of this account to the Present date. -

10- Please detail and list for me in writing each separate attorney fee collected from this
account and for which each corresponding payment perlod or month such fee was
collected from the inception of this account to the present date,

11-Please detail and list for me in writing any adjustments in attorney fées assessed and —
on what date such adjustment was made and the reason for such adjustment.

12- Please detail and list for me in writing any adjustments in attorney fees éollected and *
on what date such adjustment was made and the reason a for such adjustment, .

 
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13-Has interest been charged on any attorney fees assessed or charged to this sccount?
Yes or No?

14-Is interest allowed to be assessed or charged on attorney fees ohare or assessed to
this account? Yes or No?

_15-How much total in attorney fees have been assessed to this secount fom the i inception
to the present date?

16-How much total in attorney fees have been collected from this account fom the
inception to the present date?

17-How much tofal in attomey fees have been charged to this account froin the inception
to the present date?

18-Please send me copies of all invoices.and detailed billing statements from any law
firm or attorney that has billed such fees that have been assessed or collected from this
account from the inception to the present date.

In regards to Suspense/Unapplied Accounts:

For purposes of this section, please treat the ferm suspense sccount and unapplied
account as one in the same, . ,

1-Has there been any suspense or unapplied account transactions on this account from the
inception of this account until the present date? Yes or No?

2-If yes, please explain the reason for each and every suspense transaction. that oceured
on this account. If no, please skip the questions in this section dealing with suspense and
unapplied accounts.

3-In a spreadsheet or in letter form in a columnar format, please detail for me each and

every suspense or unapplied transaction, both debits and credits that has occurred on this
account from the inception of this account to the present date.

In regards to late fees:

For purposes of my questions below dealing with late: fees please consider the terms late
fees and late charges to be one in the same.

1-Have you reported the collection of Jate fees on this account as interest in ony 9 stetement
to me or to the IRS? Yes or No?

 
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2-Has any previous servicers or sub-servicers of this morigage reported the collection of
late fees on this account as interest in any statement to me or fo the IRS? Yes or No?

3-Do you ‘consider the payment of late fees as liquidated damages to you for not
receiving payment on time? Yes or No?

4-Are late fees consi idered interest? Yes or No?

5-Please detail for me in writing what expenses and damage you owed for any -
payment 1 made that was late,

6-Were any of these expenses or damages charged or assessed to this account in any
other way? Yes or No? _

7-If yes, please describe what expenses or damages were charged or assessed to this
account,

8-Please describe for me in writing what expenses you or others undertook due to any
payment J made, which was late,

9- Please describe for me in writing what damages yous or others undertook due to any.
payment J made, which was late.

10-Please identify for me in writing the provision, paragraph, section or sentence of any

note, mortgage, deed of trust or any agreement I signed that authorized the assessment or
collection of late fees,

11-Please detail and list for me in writing each separate late fee assessed to this account

and for which corresponding payment period or month such late fee was assessed. from
the inception of this account to the present date. .

12-Please detail and list for me in writing each separate late fee collected from this
account and for which corresponding payment period or month such late fee was _
collected from the inception of this account to the present date,

13-Please detail and list for me in wrifing any adjustments in late fees assessed and on
what date such adjustment was made and the reason for such adjustment,

14-Has interest been charged on any late fee assessed or charged to this account? Yes or
No?

[5-Is interest allowed fo be assessed or charged on late fees to this account? Yes or No? -

16-Have any late charges been assessed to this account? Yes or No? .

 
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17-If yes, how much in total late charges have been assessed to this account from the
inception of this account to the present date?

18-Please provide me with the exact months or payment dates you or other previous
servicers or sub-servicers of this account claim I have been late with a payment from the
inception of this account to the present date,

19-Have late charges been collected on this account from the nop of this account to.
the present date? Yes or No?

20- ‘eyes, how much in total late charges have been collected on this account from the
inception of this account to the present date?

In regards to Property Inspections:

For the purpose of this section property inspection and inspection feo refer to any

inspection of property by any source and any related fee or expense charged, assessed or
collected for such inspection.

I-Have any property inspections been conducted on my property front the einopton of .
this account to the present date? Yes or No?

2-If your answer is no, you can skip the rest of the questions in this section concerning
property inspections, .

3-If yes, please tell me the date of each property inspection conducted on my property
that is the secured interest for this mortgage, deed of trust or note.

4-Please tell me the price charged for each property inspection.
5-Please tell me othe date of each property inspection.

6-Please tell me the1 name and address of each company and person who conducted each
property inspection on my property,

_ 7-Please tell me why property inspections were conducted on my property. -
8-Please tell me how property inspections are beneficial to me.

9-Please tell me how property inspections are protective of my property, | 7
10-Please explain to me your policy on property inspections. :

11-Do you consider the payment of inspection fees as a cost of collection? Yes or No? -

 
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12-If yes, why?

13-Do you use property inspections to collect debts? Yes or No? —

14-Have you used any portion of the property inspection process on my property to —
. collect a debt or inform me of a debt, payment or obligation I owe? Yes or No?.

- 15-If yes, please answer when and why?

16-Please identify for me in writing the provision, paragraph, section or sentence of any 7
note, mortgage, deed of trust of any agreement I signed that authorized the assessment or
collection of property inspection fees.

 17-Have you labeled in any record or document sent to me a property inspection as a: .
miscellaneous advance? Yes or No?

18-If yes, why?

19-Have you labeled in any record or document sent to mea propetty inspection as a
legal fee or attorney fee? Yes or No?

20-If yes, why?
21-Please detail and list for me in writing each separate inspection fee assessed to this

account and for which corresponding payment period or month such fee was aascaged
from the inception of this account to the present date.

22- Please detail and list forme in writing each’ separate inspection fee collected from |
this account and for which corresponding payment period or month such fee was
collected from the inception of this account to the present date, .

23-Please detail and list for me in writing any adjustments in tnspeotion fees assessed and
on what date such adjustment was made and the reasons for such adjustment? —

24- Please detail and list for me in writing any adjustments in taspection fees collected :
and on what date such adjustment was made and the reasons for such adjustment?

25-Has interest been charged on any inspection fees assessed or chasged to this account?”
Yes or No?

26-If yes, when and how much was charged? .

27-Is interest allowed to be charged on inspection fees charged or sssssed to this
account? Yes or No?

 
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28-How much total in inspection fees has been assessed to this account from the -
inception of this account to the present date?

" 29-How much total in inspection fees has been collected on this account from the
inception of this account to the present date?

30-Please forward to me copies of all property inspections made on my property-i in this
mortgage account file,

3 1-Has any fee charged or assessed for property inspections been placed into an escrow
account? Yes or No?

In regards to BPO Fees: |
1~Have any BPOs (Broker Price Opinions) been conducted on my property? Yes or No?

2- If your answer is Ro, you can skip the rest of the questions in this section concerning»
BPOs. :

3-If yes, please tell me the date of each BPO conducted on 1 my property that is the .
secured interest for this mortgage, deed of trust or note,

4-Please tell me the price of each BPO.

5-Please tell me who conducted the BPO, _
"6-Please tell me why BPOs were conducted on my property,
" ‘J-Please tell me how BPOs are beneficial to me.

8-Please tell me how BPOs are protective of my property, |

9-Please explain your policy on BPOs. -

10-Have any BPO fees been assessed to this account? Yes orNo?

1 1-If yes, how much in total BPO fees have been cherged to this account?

12-Please identify for me in writing the provision, paragraph, section or sentence of any.
‘hote, mortgage, deed of trust or any agreement I signed that authorized the assessment,
charge or collection of a BPO fee from me.

13-Please send tome copies of all BPO reports that have been done on my property

 
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i4-Has any fee charged or assessed for a BPO been Placed in into an escrow account? Yes.
or No? .. |

In regards to Force-Placed Insurance: a

1-Have you placed or ordered any force-placed insurance policies on my property?

2-If yes, please tell me the date of each policy ordered or placed on my property that is |
the secured interest for this mortgage, deed of trust ornote, =

3-Please tell me the price of each policy.

4-Please tell me the agent for each policy. |

5-Please tell me why each policy was placed on my property.

6-Please tell me how the policies are beneficial to me.

7-Please tell me how the policies are protective of my property.

8-Please explain to me your policy on foree-placed insurance, :

9-Have any force-placed Insurance fees been assessed to this avcount? Yes or No?

10-If yes, how much in total force-placed i insurance fees have been assessed to this
account?

11-Have any force-placed insurance fees been charged to this account? Yes or No?

12-If yes, how much in total force-placed { insurance fees have been charged to this
account?

13-Please identify for me in writing the provision, paragraph, section or sentence of a any
note, mortgage, deed of trust or any agreement | signed that authorized the assessment,
charge or collection of force-placed insurance fees from me,

14-Do you have any relationship with the agent or agency that placed any policies on my
- property? If yes, please describe.

15-Do you have any relationship with the carrier that issued any policies on my property?
If yes, please describe, ,

16-Has the agency or carrier you used to to place a foreed-placed ingurance- on my property
provided you any service, computer system, discount on policies, commis ssions, rebates
or any form of consideration? If yes, please describe.

 
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17-Do you maintain a blanket insurance policy to protect your ar properties when customer -
policies have expired? Yes or No?

18-Please send to me copies of all forced-placed insurance policies that have been
ordered on my property from the inception of this account to the present date.

In regards to Servicing:

For each of the following questions listed below, please provide me with a detailed
explanation in writing that answers each question, In addition, I need the following.

answers to questions concerning the servicing of this account from its. ts inception to the
present date,

1-Did the originator or previous servicers of this account have any financing agreements
or-contracts with your company of an affiliate of your company? |

2-Did the originator or previous servicers of this account have any Smeg sgreoments 7
or contracts with your company or an affiliate of your company?

3-Did the originator or previous servicers of this account receive any. compensation, ‘fee, -
commission, payment, rebate or other financial consideration from your companyor
affiliate of your company for handling, processing, originating or administering this loan?
_If yes, Please describe and itemize each and every form of compensation, fee, =
commission, payment, rebate or other financial consideration paid to the originator of this
account by your company or any affiliate.

4-Please identify for me where the originals of this entire account file are currently
located and how they-are being stored, kept and protected,

5-Where is the original monetary instrument or mortgage I signed located? Please
describe its physical location and anyone holding this note as a custodian 0 or trustee if
applicable. .

6-Where is the original deed of trust or mortgage and note I signed located? Please

describe its physical location and anyone holding this note as a custodian or trustee if
- applicable,

7-Since the inception of this account has there been any assignment of my monetary
instrument/asset to any other party? If the answer is yes, identify the names and addresses ~
of each and every individual, party, bank, trust or entity that has received such
assignments,

8-Since the inception of this account, has there been any assignment of the deed of ‘trust .
or mortgage and note to any other party? If the answer is yes, identify the names and

 
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addresses of each and every individual Party bank, trust or entity thai has received such
assignments.

$- Since the inception of this account, has there been ariy. sale or assignment ofthe.
servicing rights to this mortgage account to any other party? If the answer is yes, identify
the names and addresses of each and every individual, party, bank, trust or entity that has
received such assignments or sale,

10-Since the inception of this account, have any sub-servicers serviced any portion of this .
mortgage account? If the answer is yes, identify the names and addresses ofeach and
every individual, party, bank, trust or entity that has sub-serviced this mortgage account,

11-Has this mortgage account been made a part of any mortgage pool since the inception
of this loan? If yes, please identify for me each and every account mortgage poo! that this
mortgage has been a part of from the inception of this account to the present date. -

32-Has each and every assignment of my asset/monetary instrument been recorded in the .
county land records where the property associated with this mortgage account is located?._

13-Has there been any electronic assignment of this mortgage with MERS (Mortgage
Electronic Registration System) or any other computer mortgage registry service or |
computer program? If yes, identify the name and address of each and every individual, .
entity, party, bank, trust or organization or servicers that have been assigned to mortgage
servicing rights to this account as well as the beneficial interest to the payments of
principal and interest on this loan,

14-Have there been any investors (as defined by your industry) who have oatticipated in = -
any mortgage-backed security, collateral mortgage obligation or other mortgage security -
instrument that this mortgage account hes ever-been a part of from the inception of this.
account to the present date? If yes, identify the name and address of each and every ,
individual, entity, organization and/or trust.

15-Please identify for me the parties and their addresses to all sales contracts, servicing .
agreements, assignments, alonges, transfers, indemnification agreements, recourse

agreements and any agreement related to this account from the inception of this account
to the present date.

16-Please provide me with copies of all sales contracts, servicing agreements,
assignments, alonges, transfers, indemnification agreements, recourse agreements and

any agreement related to this account from the inception of this account to the Present ©
date,

17-How much was paid for this individual mortgage account by you?

18-If part of a mortgage pool, what was the principal balance used by you to determine
payment for this individual mortgage loan? ,

 
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any agreement related to this account from the inception of this account to the present

17-How much was paid for this individual mortgage account by you? a

18-If part of a mortgage pool, what was the principal balance: used by. you to determine.
payment for this individual mortgage loan?»

19-If part of a mortgage pool, what was the percentage paid by you of the principal
balance above used to determine purchase of this individual mortgage loan?

20-Who did you issue a check or payment to for this mortgage loan? |
21-Please provide me with copies of the front and back of the canceled check,
22-Did any investor approve of the foreclosure of my property? Yes or No?

23-Has HUD assigned or transferred foreclosure rights to you as required by 12 usc
375 4?

24-Please identify all persons wo approved the foreclosure of my property,

Please provide me with the documents I have requested and a detailed answer to each of a
my questions within the lawful time frame. Upon receipt of the documents and answers, — -

an exam and audit will be conducted that may lead to a further document request and

answers to questions under an additional RESPA Qualified Written Request letter,

Copies of this Qualified Written Request, Validation of Debt, THA and request for
accounting and legal records, Dispute of Debt letter are being sent to FTC, HUD, Thrift |
Supervision, and all relevant state and federal regulators; and other consumer advocates;
and my congressman.

It is my hope that you answer this RESPA request in accordance with law and the
‘questions, documents and validation of debt to the penny and correct abuses.or schemes.
uncovered and documented,

Default Provisions under this QUALIFIED WRITTEN REQUEST . .
Second Party or any agents, transfers, or assigns omissions of or agreement by silence. —
of this RESPA REQUEST via certified rebuttal of any and all points herein this RESPA
REQUEST, agrees and consents to including but not limited by any violations of law -
and/or immediate terminate/remove any and all right, title and interest (iens) in First
Party or any property or collateral connected to First Party or account #see A and
waives any and all immunities or defenses in claims and or violations.agreed to in this
RESPA REQUEST including but not limited iby any and ail:

 
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1-First Party's ight, by breach of fiduciary responsibility and fraud and
misrepresentation revocation. and rescinding any and all power of attorney or - -
appointment Second Party may have or may have had in connection with account # see
exhibit “A” and any property and/or real estate connected with account # see A attached .

2-Borrower’s right to have any certificated or uncertificated seourity reregistered in
Borrowers, and only Borrower's name. ~

3-Borrower’s right of collection via Lender's ability insurance and/or bond,

4- First Party's entitlement in filing and executing any instruments, as power of attomey
for and by Lender , including but not limited by a new certificated security or any
security agreement perfected by filing a UCC Financing Statement with the Secrtary of
State in the State wheré Lender is Jocated.

5-First Party's right to damages because of Second Party's wrongful registration, bréach
of intermediary responsibility with regard to First Party asset by Second Party issuing to.
First Party, a certified check for the original value of First Party's monetary instrument,

6-First Party's right to have account # exhibit A completely set off because Second.
Party's wrongful registration, breach of intermediary responsibility with regard to First
Party's monetary instrument/asset by Second Party's sending confirmation of set off of.
wrongful liability of First Party and issuing a certified check for the difference between.
the original value of First Party’s monetary instrument/asset and what First Party

' mistakenly sent to Second Party as a payment for such wrongful Hiability. ”

Lender or any transfers, agents or assigns offering a rebuttal of this RESPA REQUEST
must do so in the manner of this RESPA REQUEST in accordance of and in compliance.
with current statutes and/or laws by signing in the capacity ofa fully liable manor
woman being responsible and liable under the penalty of perjury while offering direct —
testimony with the official capacity as appointed agent for Second Party in accordance
with Second Party Articles of Incorporation, By Laws duly signed. by a current and duly
sworn under oath director(s) of such corporation/ Holding Corporation/ National
Association. Any direct rebuttal with certified true and complete accompanying proof.
rust be posted with the Notary address herein within sixty days, When no verified ©
rebuttal of this RESPA REQUEST is made in a timely manner, a “Certificate of Non-
Response” serves as Second Party judgment and consent/agreement by means of allénce

with any and all claims and/or violations herein-stated in the default provisions or any.
other law. ;

Power of Attorney: When Second Party fails by not rebutting to any part of this RESPA
REQUEST , Second Party agrees with the granting unto First Patty's untimited Power of

 
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Attorney and any and all full authorization in signing and endorsing Second sPatyon name.
wpon any instruments in satisfaction of. the obligations of this RESPA, |

REQUEST/Agreement or any agreement arising from this agreement. Pré-emption of or.”
to any Bankruptcy proceeding shall not discharge any obligations of this agreement,
Consent and agreement with this Power of Attorney by Second Party waives any and ail
claims of First Party , and/or defenses and remains in effect until the satisfaction of all .
- obligations by’ Second Party have been satisfied.

Sincerely,

Mark Dees
First Party

Claire Dees

 

 
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August 17%, 2010

. NOTICE OF )
OBJECTION TO FORECLOSURE SALE

See exhibit A attached for list of loan numbers.

I object to the notice of foreclosure sale because the wrong
party in interest is attempting to foreclose.Any attempt to
foreclose by the wrong party in interest will constitute fraud
and deceptive buisness practices. Demand is made to prove
you or your client has the original note and I demand a place .
nearby to view it at a convenient location according to the
State Law. This notice consitutes a cease and desist , a
revocation of the power of attorney in security deed and a

recission of the loan due to pretender lender fraud.A _
tender of payment in full was made upon production ofthe _-

note . Your client has failed to validate their positionto =>
enforce the note and the security instrument. They are not the —
real party in interest. The security instrument was voided -
when the note was separated from the loan deed. Cease and
desist all collection activity now. —

I dispute the balance i is correct and I dispute that your alleged
client is the real party in interest.

tale. Dee

Mark Dees
Chou. Rtg
_ Claire Dees

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NOTICE OF OBJECTION TO MODIFICATION OF LOANS.

“See exhibit A attached for list of loans that were modified by wrong party:

August 178 , 2010

WAMU, &
_ JP. MORGAN CHASE, NA.

1. It has come to my attention 1 through the advice of counsel that the | oo
modifications of the loans that occurred on the loans attached on exhibit. -
“A” attached were not done or even authorized by the real party in interest
and were therefore invalid and void. Also the note was separated from the
loan deed at closing and at the various steps of the securities chain and were ©
therefore void and unenforceable. : oo

Unless you admit or deny this within ten days that item number 1 along with
proof in the form of an affidavit from the genuine Chief Financial Officer of -
the lender that the loans were modified with authorization from the bond —
certificate holders who are the real party in interest and-a convenient place
to view the originals, within ten days from this notice then your failure to
respond on a point by point basis with an admission or denial will constitute

an admission of the allegations i in items number 1. above , according to Title:
24, . .

Merle
Mark Dees

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August 17%, 2010

Legal Department , ,
Loan Numbers: For complete list of loan numbers, see exhibit A attached hereto and incorported
herein and made a part hereof by reference.

NOTICE OF DEMAND FOR DEBT VALIDATION

This is notice to cease and desist all collection activity until you provide the documents
requested in the qualified written request and the good faith request for information -
‘according to Fair Debt Collection Practices Act.

Tam hereby rescinding this loan and The power of attorney in the security deed is
hereby revoked and is being récorded and a lis pendens is being recorded and filed on
the property, and you will need to refund all payments, plus treble damages, on the loan
from the beginning plus pay treble damages and my attorney fees for TILA and RESPA
violations, usury, deceptive business practices and fraud. I want the names , ‘addresses
and phone numbers of each and every bond certificate holder and the security prospectus =
and the.pooling and servicing agreement and accounting ledgers. since I believe the real
. party in interest has been paid in full through tarp and or insurance,

REGARDING THE Notice of Intent to Accelerate, - _

Tam rebutting the items in your letter on a point by point basis as follows. | ,
1. J P Morgan Chase i is the creditor on the home loan’ described above on behalf of the note.
holder.”

- Rebuttal, T have previously asked you ina Qualified Written Request to provide proof that -
your company has any relationship at all with the purported Jender and the bond certificate
holders . You have failed to provide this , Please prove you have the right to collect the
payments and payoff funds according to the Good Faith Request for information attached. I
have also tendered payment in full upon production of certain documents. Where @ are the
documents that I requested 7
2. There is no default. The loan was paid in whole or in part by tarp and or insurance proceeds |

‘and I want to view your ledgers and the chain of securitization unbroken back to the bond .
certificate holders who are the real parties in interest.
3, Do you have first hand knowledge the obligation even exists. Provide the persons name
address and phone number who has this first hand knowledge...

_4, My loan is void by the separation of the note and the security deed this was done at tthe

' closing table when you named mers as the grantee,
The bond holder was the lender but they were not named on the note or security deed.
Immediately cease and desist all collection and foreclosure activity.

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Filed In Office

  

IN THE SUPERIOR COURT OF COBB COUNTY

 

 

 

 

 

 

 

 

 

STATE OF GEORGIA f

MARK DEES, CLAIRE DEES phenson
per fiapfpSuperior Court Cobb County
WASHINGTON MUTUAL BANK FA VS.
CHASE HOME FINANCE LLC
NT
JP MORGAN CHASE NA, DOES 1-1000 RES PONTENTS
ATTORNEY: TELEPHONE NUMBER: _ | Givit Action Number.
ATTORNEY FOR: 10-1-11419-49 |
AFFIDAVIT OF Court Date: Court Time:

 

 

 

 

 

1, At the time of service | was at least 18 years of age and not a party to this action, and | served the following documents:

VERIFICATION, CERTIFICATE OF SERVICE, EXHIBITS 3, F

 

 

 

 

 

 

 

 

 

 

2. Person Served: Frank R. Olson Date Served: 11/29/2010
Entity Served: Time Served: .
McCurdy & Candler LLC 3:10 PM

 

Service Address

 

 

3525 Piedmont Road, Bldg 6, Suite 700
Atlanta, Georgia 30305

 

 

 

 

 

3. / served the person or entity in item 2 with the service documents by:

PLACING THE SERVICE DOCUMENTS INTO THE HANDS OF FRANK R. OLSON AN
AUTHORIZED AGENT FOR MCCURDY & CANDLER, LLC,

 

 

4, Agent Who Served Documents: ! Declare under penalty of perjury under the laws of
T. KNOTT/Agent of Dial Services the State of Georgia that the statements above are
3520 STONEY CREEK WAY true and accurate.

LOGANVILLE, GEORGIA 30052

 

 

 

 

 

5.

Notary Seal
My Commission Exnires: 03/24/2014

 

 
